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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 KATHERINE SEAMAN, et al., individually                              03/13/2023
 and on behalf of all others similarly situated,     18-CV-1781 (PGG) (BCM)
                Plaintiffs,
        -against-
 NATIONAL COLLEGIATE STUDENT
 LOAN TRUST 2007-2, et al.,
                Defendants.

 CHRISTINA BIFULCO, et al., individually
 and on behalf of all others similarly situated,     18-CV-7692 (PGG) (BCM)
                Plaintiffs,
        -against-                                    REPORT AND RECOMMENDATION
 NATIONAL COLLEGIATE STUDENT                         TO THE HONORABLE PAUL G.
 LOAN TRUST 2004-2, et al.,                          GARDEPHE
                Defendants.

BARBARA MOSES, United States Magistrate Judge.

       In these consolidated actions, plaintiffs Katherine Seaman, Mary Re Seaman, Sandra

Tabar, Christina Bifulco, Francis Butry, and Cori Frauenhofer, suing individually and on behalf of

all others similarly situated, allege that defendants National Collegiate Student Loan Trust

2007-2 (Trust 2007-2), National Collegiate Student Loan Trust 2007-3 (Trust 2007-3), National

Collegiate Student Loan Trust 2004-2 (Trust 2004-2), and National Collegiate Student Loan Trust

2006-4 (Trust 2006-4) (collectively, the Trust Defendants); Transworld Systems, Inc. (TSI), in its

own right and as successor to NCO Financial Systems, Inc. (NCO), and NCO, now known as EGS

Financial Care Inc. (collectively, TSI-NCO); and Forster & Garbus LLP (Forster), engaged in a

fraudulent scheme, carried out in state courts, to obtain payment on student loan debts "that they

cannot prove they are owed," in violation of the Fair Debt Collection Practices Act (FDCPA), 15
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U.S.C. §§ 1692-1692p, New York General Business Law (GBL) § 349, and New York Judiciary

Law (NYJL) § 487. See Consolidated Class Action Complaint (CCAC) (Dkt. 124) ¶¶ 1-17.1

       The named plaintiffs allege that defendants filed debt collection lawsuits against them and

thousands of others in state court, knowing that they would unable to prove the underlying claims

if the suits were contested, but hoping to "extract money" from the alleged debtors through default

judgments or settlements without being put to their proof – which, in a substantial majority of the

state court cases, they did. CCAC ¶¶ 1, 274(a)-(b), 280(a)-(b). In order to carry out this scheme,

the Trust Defendants (which appeared as the plaintiffs in the collection lawsuits, see id. ¶¶ 88, 119,

161, 193, 222), TSI-NCO (which, as the Trust Defendants' servicing agent, directed the litigation

and managed the Trust Defendants' lawyers, see id. ¶¶ 47-57, 89, 120, 162, 194, 223), and Forster

(which served as the Trust Defendants' counsel of record in New York, see id. ¶¶ 35, 88, 119, 161,

193, 222) allegedly made a variety of standardized false representations in their pleadings and

affidavits, and engaged in other unfair and abusive practices, including falsely representing that

each Trust Defendant named as plaintiff was the "original creditor" on the debt and was

"authorized to proceed" with the action when in fact neither was true; filing affidavits in which a

TSI-NCO employee attested to "personal knowledge of proof of indebtedness, when he or she in

fact lacked such knowledge"; and filing complaints that were signed by Forster attorneys but never

"meaningfully reviewed by an attorney." Id. ¶¶ 274(c)-(g), 280(c)-(g). Additionally, the Trust

Defendants and TSI-NCO conveyed adverse credit information to the major credit bureaus about




1
  Unless otherwise specified, all docket citations in this Report and Recommendation are to the
docket of the first-filed action, No. 18-CV-1781 (Seaman). The original lead plaintiff in that action
was Mutinta Michelo, but on May 12, 2021, the parties stipulated to the dismissal of Michelo's
claims (Dkt. 298), leaving K. Seaman as the lead plaintiff.


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plaintiffs that was false, known to be false, or that they should have known to be false. Id.

¶¶ 274(h), 280(h).

        Each of the named plaintiffs was sued by one of the Trust Defendants in a state court debt-

collection proceeding initiated in New York between 2013 and 2015. CCAC ¶¶ 88, 119, 161, 193,

222. In each case, defendants obtained a default judgment, and in most cases, defendants also

recorded a lien, obtained an income execution, garnished the named plaintiff's wages, and/or

"falsely reported to credit bureaus that the underlying alleged debt was valid and owed." Id. ¶¶ 115-

17, 149, 188-192, 219-21, 248-51. One of the named plaintiffs, Sandra Tabar, successfully moved

to vacate the default judgment against her, after which defendants discontinued the case.

Id. ¶¶ 150-60.

        Now before me for report and recommendation are: (1) defendants' motion (Dkt. 371),

made pursuant to Fed. R. Civ. P. 12(b)(1), as supplemented, see Def. R. 12(b)(1) Supp. Br.

(Dkt. 408), to dismiss the Consolidated Class Action Complaint in toto for lack of subject matter

jurisdiction; and (2) plaintiffs' motion (Dkt. 312), made pursuant to Fed. R. Civ. P. 23, as

supplemented, see Pl. R. 23 Supp. Br. (Dkt. 409); Pl. Damages Supp. Br. (Dkt. 410), for class

certification.

        In their Rule 12(b)(1) motion, as supplemented, defendants argue that under the standards

announced in TransUnion LLC v. Ramirez, 141 S. Ct. 2190 (2021), the named plaintiffs lack

standing to bring any of their claims, against any of the defendants, on any of the theories of harm

alleged in the CCAC, and therefore that this action should be dismissed in its entirety. See Def.

R. 12(b)(1) Supp. Br. at 2-3, 10.

        In their Rule 23 motion, as supplemented, plaintiffs ask the Court to do three things:




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         1.      Certify four classes pursuant to Fed. R. Civ. P. 23(b)(3) (the 23(b)(3) Classes), one

                 for each of the Trust Defendants, Pl. R. 23 Supp. Br. at 5, as follows:

               Class Definitions                  Class       Defendants              Claims
           for Rule 23(b)(3) Classes2             Period

    All persons who have been sued in New                       TSI-NCO        FDCPA; GBL § 349
    York state-court debt collection lawsuits
                                                                                    FDCPA;
    where the plaintiff was Trust 2004-2, with 11/1/12 –
                                                                 Forster           GBL § 349;
    TSI-NCO acting as [servicing agent] and 2/27/18
                                                                                   NYJL § 487
    Forster as plaintiff's counsel, and where a
    default judgment has been obtained.                       Trust 2004-2          GBL § 349

    All persons who have been sued in New                       TSI-NCO        FDCPA; GBL § 349
    York state-court debt collection lawsuits
                                                                                    FDCPA;
    where the plaintiff was Trust 2006-4, with 11/1/12 –
                                                                 Forster           GBL § 349;
    TSI-NCO acting as [servicing agent] and 2/27/18
                                                                                   NYJL § 487
    Forster as plaintiff's counsel, and where a
    default judgment has been obtained.                       Trust 2006-4          GBL § 349

    All persons who have been sued in New                       TSI-NCO        FDCPA; GBL § 349
    York state-court debt collection lawsuits
                                                                                    FDCPA;
    where the plaintiff was Trust 2007-2, with 11/1/12 –
                                                                 Forster           GBL § 349;
    TSI-NCO acting as [servicing agent] and 2/27/18
                                                                                   NYJL § 487
    Forster as plaintiff's counsel, and where a
    default judgment has been obtained.                       Trust 2007-2          GBL § 349

    All persons who have been sued in New                       TSI-NCO        FDCPA; GBL § 349
    York state-court debt collection lawsuits
                                                                                    FDCPA;
    where the plaintiff was Trust 2007-3, with 11/1/12 –
                                                                 Forster           GBL § 349;
    TSI-NCO acting as [servicing agent] and 2/27/18
                                                                                   NYJL § 487
    Forster as plaintiff's counsel, and where a
    default judgment has been obtained.                       Trust 2007-3          GBL § 349


2
  Plaintiffs exclude from each proposed class definition "any individual who appeared in state court
to defend themselves and against whom the Trust Defendant named as plaintiff was awarded
judgment by a New York state-court judge after trial." Pl. R. 23 Supp. Br. at 5 n.7. As a practical
matter, this would exclude only those debtors – if any – who (i) had a default judgment entered
against them; (ii) obtained a vacatur of that default, and then (iii) lost on the merits after a post-
vacatur trial. As discussed in more detail below, only approximately 1.5% of the debtors litigated
and lost to defendants in state court at any stage. See Hawkins R. 23 Decl. (Dkt. 315) ¶ 40. It is
unclear whether any of them lost at the post-vacatur stage.


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       2.        Certify four classes pursuant to Fed. R. Civ. P. 23(b)(2) (the 23(b)(2) Classes), one

                 for each of the Trust Defendants, Pl. R. 23 Supp. Br. at 6, as follows:

                Class Definitions                 Class        Defendants             Claims
            for Rule 23(b)(2) Classes             Period
 All persons who have been or will be sued                      TSI-NCO             GBL § 349
 in New York state-court debt collection
 lawsuits with the plaintiff being Trust 11/1/12 –
                                                                  Forster           GBL § 349
 2004-2, and with TSI-NCO acting as 2/27/18
 [servicing agent] and Forster as plaintiff's
 counsel.                                                      Trust 2004-2         GBL § 349

 All persons who have been or will be sued                      TSI-NCO             GBL § 349
 in New York state-court debt collection
 lawsuits with the plaintiff being Trust 11/1/12 –
                                                                  Forster           GBL § 349
 2006-4, and with TSI-NCO acting as 2/27/18
 [servicing agent] and Forster as plaintiff's
 counsel.                                                      Trust 2006-4         GBL § 349

 All persons who have been or will be sued                      TSI-NCO             GBL § 349
 in New York state-court debt collection
 lawsuits with the plaintiff being Trust 11/1/12 –
                                                                  Forster           GBL § 349
 2007-2, and with TSI-NCO acting as 2/27/18
 [servicing agent] and Forster as plaintiff's
 counsel.                                                      Trust 2007-2         GBL § 349

 All persons who have been or will be sued                      TSI-NCO             GBL § 349
 in New York state-court debt collection
 lawsuits with the plaintiff being Trust 11/1/12 –
                                                                  Forster           GBL § 349
 2007-3, and with TSI-NCO acting as 2/27/18
 [servicing agent] and Forster as plaintiff's
 counsel.                                                      Trust 2007-3         GBL § 349

       and;

       3.        Appoint plaintiffs' counsel, Frank LLP, as class counsel pursuant to

                 Fed. R. Civ. P. 23(g). Pl. R. 23 Br. (Dkt. 314) at 25.

       For the reasons that follow, I respectfully recommend that defendants' motion to dismiss

under Rule 12(b)(1) be granted in part and denied in part, and that plaintiffs' motion for class

certification be granted in part. The Court should certify a single Rule 23(b)(3) class (which


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includes plaintiffs' claims against all four Trust Defendants); appoint the named plaintiffs as class

representatives; and appoint Frank LLP as class counsel.

I.     BACKGROUND

       A.      Parties

       Plaintiffs Katherine Seaman, Mary Re Seaman, and Sandra Tabar are current or former

New York City residents and holders of student loan debt. CCAC ¶¶ 23-25. Plaintiffs Christina

Bifulco, Francis Butry, and Cori Frauenhofer are residents of Erie County, New York, and likewise

hold student loan debt. Id. ¶¶ 26-28.

       Defendants are the four Trust Defendants that sued the six named plaintiffs in state court,3

each alleging that it was the "original creditor" of the loan sued upon and/or "authorized to proceed

with this action," see CCAC ¶¶ 29-32, 92, 95, 123, 126, 166, 198, 227; the Trust Defendants'

servicing agent, TSI-NCO,4 which directed the litigation and furnished evidentiary material,

including affidavits, for use in the collection actions, see id. ¶¶ 33-34, 49-50, 89, 120, 162, 194,

223; and Forster, which served as the Trust Defendants' counsel of record in each action. Id. ¶¶ 35,

58-59, 101, 104, 132, 171, 174, 203, 206.




3
  Trust 2007-2 sued plaintiff Tabar. CCAC ¶ 119. Trust 2007-3 sued both Seaman plaintiffs in a
single lawsuit. Id. ¶ 88. Trust 2004-2 sued plaintiff Bifulco and plaintiff Butry in separate actions.
Id. ¶¶ 161, 193. Trust 2006-4 sued plaintiff Frauenhofer. Id. ¶ 222.
4
  NCO served as the Trust Defendants' servicing agent until approximately November 1, 2014, at
which point, plaintiffs allege, TSI became their servicing agent. CCAC ¶¶ 49-50. However, "[t]he
same personnel, practices, and form documents were employed by NCO and [TSI] in collecting
the [Trust Defendants'] debts before and after the changeover from NCO to [TSI]." Id. ¶ 51.
Defendants have substantially confirmed these facts. See Lyons Decl. (Dkt. 328) ¶ 12 ("Since
November 2012, NCO and later TSI, has acted continuously and without interruption as Special
Subservicer on behalf of the Trusts and a Custodian of Records for loans subject to their
administration[.]"). NCO is now doing business as EGS Financial Care Inc., CCAC ¶ 34, and is
sued under that name.


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       B.      The Fraudulent Debt Collection Scheme

       The Trust Defendants have no employees, and use their servicing agent TSI-NCO to collect

debts owed on student loans. CCAC ¶¶ 2, 47. Plaintiffs allege that TSI-NCO causes baseless

lawsuits to be filed on behalf of the Trust Defendants in state and local courts against student debt

holders like plaintiffs. Id. ¶ 2. TSI-NCO coordinates with various law firms to sue the debt holders

on the Trust Defendants' behalf, relying on Forster to do so in New York State. Id. ¶¶ 2, 35.

       In the New York collection actions, defendants' boilerplate complaints falsely state that

one of the Trust Defendants is the "original creditor" of the loan at issue and/or is "authorized to

proceed" with the action. CCAC ¶ 8. In fact, no Trust Defendant originated any of the loans sued

on; rather, the Trust Defendants "are the ultimate owners of bundles of student loan debt following

a byzantine securitization process." Id. ¶ 10.5 Nor, according to plaintiffs, were any of the Trust

Defendants "authorized to proceed" in a New York court, because none of them registered with

the New York Department of State and paid the tax required of "out-of-state entities that regularly

file suit in this state's courts." CCAC ¶ 11.

       Defendants make further misrepresentations later in the litigation process, including by

submitting deceptive affidavits in connection with motions for default judgments. CCAC ¶ 12.

The TSI-NCO employees who fill out and sign those affidavits falsely attest to "personal

knowledge" of key facts such as the relevant account records, the consumer's debt, and – most

significantly – the chain of assignments establishing the relevant Trust Defendant's entitlement to



5
  This is undisputed. See Luke Decl. (Dkt. 327) ¶ 5 (attesting that the Trust Defendants "hold
thousands of student loans that were purchased subsequent to the loan's origination, but prior to
any default of a loan"). I note, however, that only the New York City complaints (filed against K.
Seaman, M. Seaman, and Tabar) appear to allege affirmatively that the Trust Defendant serving
as the plaintiff in that case "IS THE ORIGINAL CREDITOR[.]" See Hawkins R. 23 Decl. Ex. J,
at ECF p. 22; id. Ex. K, at ECF p. 19.


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sue. Id. ¶ 13. "In fact, they robosign the affidavits without reviewing any such evidence," id., "in

order to fraudulently obtain default judgments against consumers for unprovable debts." Id. ¶ 12.

       Moreover, defendants' pleadings and motions "were not meaningfully reviewed by an

attorney prior to filing." CCAC ¶ 17. Instead, they were "created by automated systems and non-

attorney support staff." Id. Defendant Forster, a Long Island-based debt-collection law firm, filed

"hundreds, if not thousands," of lawsuits against New Yorkers allegedly indebted to one of the

Trust Defendants. Id. ¶ 59. The pleadings and other papers filed in those lawsuits, which contained

"identical assertions of fact," Hawkins R. 23 Decl. ¶¶ 19-20, were "mass-produced by non-lawyers

at the push of a button, and then signed by attorneys who had done nothing to confirm the validity

of the allegations and claims lodged against the consumer-defendants[.]" Id. ¶¶ 60-63. Forster "did

not possess, and did not review, any actual documentary support" for the complaints it filed on

behalf of the Trust Defendants. CCAC ¶ 61; see also Hawkins R. 23 Decl. ¶¶ 11-12 (noting that

TSI-NCO policies expressly forbade Forster from "requesting or receiving copies of the actual

documents" evidencing loan terms, assignments, or chain of title).

       Similarly, the TSI-NCO employees who signed the affidavits used to procure state court

judgments in favor of the Trust Defendants and against debtors – including the named plaintiffs –

did not possess or review the underlying records upon which those affidavits were supposedly

based. Hawkins R. 23 Decl. ¶¶ 22-27. TSI-NCO had a team of employees (the Affiants) sign those

affidavits and aver before the New York State courts that they were "competent and authorized to

testify" as the Trusts' witnesses against debtors in state court if called upon to do so. CCAC ¶¶ 105

(affidavit signed by James H. Cummins and filed against the Seaman plaintiffs), 139 (affidavit

signed by Dudley Turner and filed against Tabar); 175 (affidavit signed by Colleen Y. Morgan




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and filed against Bifulco); 207 (affidavit signed by Jonathan Boyd and filed against Butry); 236

(affidavit signed by Chandra Alphabet and filed against Frauenhofer).6

       The Affiant team was small – consisting of roughly half a dozen members at any one time

– but churned out a large number of affidavits daily, with each Affiant signing "upwards of 45

affidavits per day." Hawkins R. 23 Decl. ¶¶ 25-26. The Affiant team relied on a computerized

system that began with a "pre-created" affidavit template and then "pull[ed] data in" from another

system to "populate the various fields," which were "utilized to create that affidavit." Id. Ex. B

(Luke Dep. Tr.) at 181:11-185:9. The system populated, among other things, the names of the

borrower and any co-borrower, "the status of the account, balances, last payment date, amount,

Trust name, fields such as those." Id. at 184:23-185:5.

       The resulting affidavits all stated, falsely, that they were based on the Affiant's "personal

knowledge" of the relevant business records "that detail the education loan records," the Trust

Defendants' "record management practices," the practices and procedures required of their "loan

servicers and other agents," and the "education loan records within [the Affiant's] possession as

custodian of records related to this matter." See, e.g., Cummins Aff. ¶¶ 2, 5; CCAC ¶ 108. In each

affidavit, the Affiant further stated, falsely, that he or she had "reviewed the education loan

records" regarding the account at issue, and on that basis attested to the amount owed. See, e.g.,

Cummins Aff. ¶ 6. In reality, plaintiffs allege, the Affiants lacked the personal knowledge to which



6
   The affidavits were submitted by both plaintiffs and defendants. See Cummins Aff.
(Hawkins R. 23 Decl. Ex. J, at ECF pp. 4-6; Luke Decl. Ex. 1-L, at ECF pp. 1-3); Turner Aff.
(Hawkins R. 23 Decl. Ex. K, at ECF pp. 6-8; Luke Decl. Ex. 1-L, at ECF pp. 24-26); Morgan Aff.
(Hawkins R. 23 Decl. Ex. G, at ECF pp.11-12; Luke Decl. Ex. 1-L, at ECF pp. 15-16); Boyd Decl.
(Hawkins R. 23 Dec. Ex. H, at ECF pp. 6-8; Luke Decl. Ex. 1-L, at ECF pp. 9-11); Alphabet Aff.
(Hawkins R. 23 Dec. Ex. I, at ECF pp. 8-9; Luke Decl. Ex. 1-L, at ECF pp. 18-19). The body of
each affidavit is substantially identical, save for the particulars concerning the borrower and loan
at issue.


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they attested. E.g., CCAC ¶¶ 106-109. They were "instructed to review data on a computer screen,"

but did not know the source of that data, how it was obtained or maintained, or whether it was

accurate. Id. ¶ 107. TSI-NCO did not require the Affiants to review the actual documents

evidencing the chain of title of the loan sued upon, or the terms of that loan. Hawkins R. 23 Decl.

¶¶ 23-24. It did not even tell the Affiants where those documents could be found in TSI-NCO's

records (if at all). Id. ¶ 23.

        In tandem with the state court proceedings, TSI-NCO reported the underlying debts to the

major credit bureaus (Equifax, Experian, and TransUnion) as "valid and owed." CCAC ¶¶ 192,

221; Hawkins R. 23 Decl. ¶ 30. That reporting, in turn, negatively impacted plaintiffs' credit scores.

See Pl. R. 23 Br. at 24 n.16 (collecting literature on the effect of credit-reporting on credit scores);

Pl. R. 23 Reply Br. (Dkt. 335) at 14 n.18 (same); see also, e.g., Pl. Bifulco Dep. Tr. (Dkt. 390-4)

at 136:10-138:16 (testifying about her "[l]ow credit score" resulting from the judgment against

her, which led to "higher interest rates" on her car loan and her credit cards).

        C.       Regulatory Proceedings

                 1.      TSI

        By Consent Order dated September 18, 2017, the Consumer Financial Protection Bureau

(CFPB) assessed a $2.5 million civil penalty against TSI for pursuing illegal debt-collection

lawsuits in violation of the Consumer Financial Protection Act of 2010 (CFPA), 12 U.S.C.

§§ 5563, 5565. CCAC ¶ 4. In the Consent Order, the CFPB found, among other things, that TSI

personnel routinely executed affidavits in support of debt collection lawsuits, including those

brought by the Trust Defendants, "that falsely claimed personal knowledge of the account records

and the consumer's debt, and in many cases, personal knowledge of the chain of assignments

establishing ownership of the loans." Consent Order § I, In re Transworld Sys., Inc.,




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Admin. Proc. No. 2017-CFPB-0018, 2017 WL 7520640 (Consumer Fin. Prot. Bureau Sept. 18,

2017). Plaintiffs' initial pleadings drew heavily upon the Consent Order.

       In addition to the civil penalty, TSI accepted a series of restrictions on its conduct. Consent

Order ¶¶ 45-51. As relevant here, TSI was enjoined from initiating any collection action unless it

possessed, inter alia, "the documentation necessary to prove that a Trust owns the loan, including,

but not limited to, the complete chain of assignment from the Debt's originator to the specific Trust

claiming ownership." Id. ¶ 45(f)(i). It was also enjoined from executing any affidavit or providing

any testimony that contains misrepresentations about the affiant's "personal knowledge" of

documents relating to the chain of ownership or other documents that form the basis of the lawsuit.

Consent Order ¶¶ 45(l)(i)-(v), 46(a)-(d).

       TSI consented to the issuance of the Consent Order "without admitting or denying any of

the findings of fact or conclusions of law," except as to jurisdiction, which it admitted. Consent

Order § III.2.

                 2.    Trust Defendants

       Also on September 18, 2017, the CFPB filed a proposed consent judgment against the Trust

Defendants (and certain related trusts) which would have required them to pay at least

$19.1 million for attempting to collect student loan debt that they could not prove they were owed,

in violation of the CFPA. See Prop. Consent J. (Dkt. 3-1), Consumer Fin. Prot. Bureau v. Nat'l

Collegiate Master Student Loan Tr., et al., No. 17-CV-01323-SB (D. Del. Sept. 18, 2017)

(hereafter CFPB v. NCMSLT). Shortly thereafter, various parties – including TSI – successfully

moved to intervene in the lawsuit pursuant to Fed. R. Civ. P. 24. On March 19, 2020, following

discovery, TSI moved to dismiss the action for lack of subject matter jurisdiction under Fed. R.

Civ. P. 12(b)(1), and various other intervenors moved to dismiss it pursuant to Fed. R. Civ. P.

12(b)(6). See Dkt. 242, CFPB v. NCMSLT (Mar. 19, 2020). After two rounds of motion practice,


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the court ruled on December 13, 2021, that "the CFPB may proceed with its enforcement suit."

Order (Dkt. 381), CFPB v. NCMSLT (Dec. 13, 2021). Defendants and other intervenors then took

an interlocutory appeal to resolve certain threshold questions (not relevant to the case before this

Court) concerning the CFPB's enforcement authority and the coverage of the CFPA. See Notice of

Appeal (Dkt. 402), CFPB v. NCMSLT (Apr. 29, 2022). Meanwhile, proceedings in the district

court are stayed. See Order (Dkt. 398), CFPB v. NCMSLT (Feb. 11, 2022).

               3.      Forster

       On May 17, 2019, the CFPB brought an enforcement lawsuit against Forster to "address

its practice of filing collection lawsuits against consumers without meaningful attorney

involvement" in violation of FDCPA. Compl. (Dkt. 1) ¶ 1, Bureau of Consumer Fin. Prot. v.

Forster & Garbus, LLP, No. 19-CV-2928-JS-ARL (E.D.N.Y. May 17, 2019) (hereafter CFBP v.

Forster). On January 18, 2023, Forster settled that action by means of a Stipulated Final Judgment

and Order. Stip. Final J. (Dkt. 60), CFBP v. Forster (Jan. 18. 2023). The firm is enjoined from

(a) "violating §§ 807(3) and 807(10) of the FDCPA, 15 U.S.C. §§ 1692e(3), 1692e(10)," as well

as various provisions of the CFPA; and from (b) initiating or threatening to initiate a collection

lawsuit against a consumer, or moving for judgment in a pending collection lawsuit, without first

complying with specific requirements, laid out in the stipulated judgment, including "hav[ing] in

its possession" documentation of the "complete chain of assignment" of the debt from the

originator to the party on whose behalf the lawsuit is brought; ensuring that any attorney whose

name appears on the complaint has "reviewed the [specified] documentation"; certifying its

compliance with these requirements; and tendering to the state court, in connection with any

motion for judgment that it files in that court, "all the information and documentation that [Forster]

is required to have in its possession under this Order." Id. ¶¶ 6, 7(d), 8(a), 9(a), 10. Additionally,




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Forster agreed to pay a $100,000 civil money penalty to the CFPB. Id. ¶ 12. Forster neither

admitted nor denied the CFPB's allegations, except as to jurisdiction, which it admitted. Id. ¶ 2.

       D.      Relevant Procedural History

               1.      The Pleadings

       The plaintiffs in No. 18-CV-1781 (Seaman) filed suit on February 28, 2018, alleging

violations of FDCPA, GBL, and NYJL. (Dkt. 8.) On August 23, 2018, the plaintiffs in No. 18-CV-

7692 (Bifulco) sued defendants on the same theories of liability, alleging nearly identical facts,

and on August 28, 2018, the Court accepted Bifulco as related to Seaman.

       On September 14, 2018, the Seamans amended their complaint (Dkt. 60), adding plaintiff

Tabar as a named plaintiff and more allegations, but preserving the same causes of action. After

defendants signaled their intent to move to dismiss the then-operative complaints in both Seaman

and Bifulco, the Hon. Paul G. Gardephe, United States District Judge, consolidated the cases and

set coordinated briefing schedules for the motions to dismiss. (Dkts. 73-74.)

               2.      The Court's 2019 Decision

       On October 11, 2019, Judge Gardephe granted in part and denied in part defendants'

motions, made pursuant to Rule 12(b)(6), to dismiss the amended complaint in Seaman and the

complaint in Bifulco. In a detailed written opinion, the Court dismissed Michelo's FDCPA claim

as time-barred; dismissed portions of the Seamans' FDCPA claim as time-barred; dismissed K.

Seaman's GBL § 349 claim for failure to plead "actual injury"; dismissed Butry's GBL § 349 claim

on the same ground; dismissed Michelo's NYJL § 487 claim for failure to plead damages; and

otherwise denied the motions to dismiss. Michelo v. Nat'l Collegiate Student Loan Tr. 2007-2, 419

F. Supp. 3d 668, 715 (S.D.N.Y. 2019).

       As relevant here, Judge Gardephe examined each of the three central misrepresentations

that defendants allegedly made in the state court debt-collection proceedings, and held that


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defendants are not shielded from liability merely because the statements were made in "furtherance

of a legal action." Michelo, 419 F. Supp. 3d at 702 (quoting Valle v. Bendett & McHugh, P.C.,

2015 WL 5797023, at *12 (D. Conn. Sept. 30, 2015)). The District Judge then held that the

misrepresentations were both factual and material, and therefore actionable under FDCPA and

GBL § 349. Michelo, 419 F. Supp. 3d at 705-06.7 Judge Gardephe did not explicitly consider

whether the overarching fraudulent sham lawsuit scheme now described in CCAC ¶¶ 274(a)-(b)

and 280(a)-(b) could violate FDCPA and/or GBL § 349, separate and apart from the specific false

or misleading statements made in individual state court pleadings and affidavits.

       Judge Gardephe also considered whether certain individual plaintiffs adequately alleged

"actual injury," as required by GBL § 349.8 Michelo, 419 F. Supp. 3d at 706-09. At the time (prior

to the Supreme Court's decision in TransUnion), there was a consensus among the lower courts

that § 349's "actual injury" requirement was "something more than the 'injury-in-fact' required to

establish constitutional standing." Id. at 706 (quoting Toohey v. Portfolio Recovery Assocs., LLC,

2016 WL 4473016, at *10 n.17 (S.D.N.Y. Aug. 22, 2016)). As relevant here, the District Judge

determined that the wage garnishment alleged by Bifulco and Frauenhofer was "a pecuniary harm

that satisfies the actual injury requirement," id. at 709, whereas K. Seaman's fear of future

garnishment did not meet the standard. Id. at 708-09. Likewise, defendants' "improper credit

reporting" satisfied the actual injury requirement as to Michelo, who specifically alleged that her

credit was adversely affected, "thereby causing her economic and noneconomic harm," id. at 707,


7
   The misrepresentations, as then pleaded, were: "(1) that the Defendants were the 'original
creditors' of the relevant loans; (2) that the Trust Defendants were 'authorized to proceed' with
litigation in state court; and (3) that Defendants possessed and reviewed proof of indebtedness."
Michelo, 419 F. Supp. 3d at 701. The same allegedly false or misleading statements are now
described in CCAC ¶¶ 274(c)-(g), 280(c)-(g).
8
 The statute grants a private right of action to "any person who has been injured by reason of any
violation of this section[.]" GBL § 349(h).


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but not as to Butry, who alleged only that defendants falsely reported to the credit bureaus "that

the debt was valid and owed." Id. at 709. Because Butry did not allege that the false report "actually

affected [his] credit or otherwise caused [him] damage," his GBL § 349 claim was dismissed. Id.9

       A plaintiff suing under NYJL § 487 must also plead "actual damages," and the defendant's

deceit "must be the proximate cause of the damage incurred." Michelo, 419 F. Supp. 3d at 713-14

(quoting Bryant v. Silverman, 284 F. Supp. 3d 458, 472 (S.D.N.Y. 2018)). Here, too, the District

Judge found that the plaintiffs who pleaded that their wages were garnished – M. Seaman and

Tabar – adequately alleged that they suffered actual damages for purposes of § 487. Id. at 714 &

n.29. He further held that Tabar's legal expenses, incurred in fighting the state court collection

proceeding, constituted actual damages for purposes of § 487. Id. However the false credit-

reporting alleged by Michelo was "not sufficient to sustain her Section 487 claim," because she

did not allege that "Forster's misrepresentations . . . caused the false credit reporting, or that

Forster [as opposed to TSI-NCO] communicated the false credit reporting to the state court or to

Michelo." Id. at 715 (emphasis added).




9
  The District Judge was careful to explain that the question whether defendants' credit-reporting
was "false" (and therefore actionable under FDCPA and/or GBL § 349), turned on whether they
"knew they could not prove the debt was 'valid and owed,'" and whether, "in their reporting
Defendants failed to state that the debt was no longer the subject of legal action," not on whether
the plaintiff owed the debt. Michelo, 419 F. Supp. 3d at 707 & n.23. This is because, "[m]uch like
the FDCPA – which is designed to protect consumers from the unscrupulous antics of debt
collectors, irrespective of whether a valid debt actually exists . . . the purpose of [GBL] Section 349
is to secure an honest market place where trust, and not deception, prevails." Id. at 707 n.23. Thus,
plaintiffs may "suffer harm in connection with Defendants' alleged deceptive practices," including
false credit-reporting, "regardless of whether or not [they] owed the loan debt in question." Id.
(cleaned up).


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                  3.      The Consolidated Class Action Complaint

          On December 10, 2019, plaintiffs filed the CCAC, which remains the operative pleading

for the consolidated actions. Plaintiffs assert three broad categories of misconduct alleged to

violate both FDCPA and GBL § 349:

                 First, that defendants filed debt collection lawsuits "without the intent or ability to

                  prove the claims, if contested," for the sole purpose of "procuring default judgments

                  against consumers and/or extracting settlements from them," CCAC ¶¶ 274(a)-(b),

                  280(a)-(b);

                 Second, that in the course of carrying out that scheme, defendants routinely made

                  certain false or misleading statements in their state court pleadings and papers, id.

                  ¶¶ 274(c)-(g), 280(c)-(g);10 and

                 Third, that defendants communicated false credit information about plaintiffs' debts

                  to the credit reporting bureaus. Id. ¶¶ 274(h), 280(h).

          For purposes of their NYJL § 487 claim, asserted only against Forster, plaintiffs allege that

the firm commenced actions "backed by an attorney's Rule 130 certification," but "without


10
     Specifically, plaintiffs allege, defendants:
          (c) falsely represent[ed] that a Trust Defendant was "authorized to proceed" with
          the state-court actions filed against Plaintiffs and the other members of the
          class . . . ; (d) falsely represent[ed] that a Trust Defendant was the "original
          creditor" in the state-court actions filed against Plaintiffs and the other members of
          the class . . . ; (e) fail[ed] to identify, as required by law, the true originating entity
          for the loan being sued upon in the state-court actions filed against Plaintiffs and
          the other members of the class . . . ; (f) fil[ed] complaints against Plaintiffs and the
          other members of the class . . . that were . . . signed by an attorney but were not, in
          fact, meaningfully reviewed by an attorney; [and] (g) fil[ed] default judgment
          affidavits against any Plaintiff or other member of the class . . . that were false or
          deceptive in that the affiant claimed personal knowledge of proof of indebtedness,
          when he or she in fact lacked such knowledge[.]
CCAC ¶¶ 274, 280.


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sufficient factual basis," CCAC ¶ 284(a),11 and that it routinely filed pleadings and papers that

contained certain false or misleading statements. Id. ¶ 284(b)-(e).12

          Plaintiffs seek "statutory and actual damages" on their FDCPA claim, which is asserted

against TSI-NCO and Forster, and on their GBL § 349 claim, which is asserted against all

defendants; damages in an amount to be determined at trial on their NYJL § 487 claim, plus treble

damages "as provided by said statute"; and an injunction, under GBL § 349, "to prevent future

violations of the GBL by defendants." CCAC at 57-58.

          On April 28, 2020, Judge Gardephe referred this matter to me for general pretrial

management. (Dkt. 144.)

                  4.      Discovery

          The parties engaged in discovery throughout 2020 and 2021, including depositions of the

named plaintiffs, and pre-certification class discovery "via a sampling of Defendants' documents




11
   Rule 130 requires that an attorney practicing before the New York State courts, in signing a
paper, certify that, "to the best of that person's knowledge, information and belief, formed after an
inquiry reasonable under the circumstances, . . . the presentation of the paper or the contentions
therein are not frivolous as defined in section 130-1.1(c) of this Subpart." N.Y. Comp. Codes R.
& Regs. tit. 22, § 130-1.1a(b). Section 130-1.1(c) defines as "frivolous" conduct that either "is
completely without merit in law," is "undertaken . . . to harass or maliciously injure another," or
"asserts material factual statements that are false."
12
     Specifically, plaintiffs allege, Forster:
          (b) fil[ed] complaints against consumers that falsely stated that a Trust Defendant
          was the "original creditor" with respect to the student loan at issue in the action;
          (c) fil[ed] complaints against consumers that falsely stated that a Trust Defendant
          was "authorized to proceed with th[e] action"; (d) fil[ed] default judgment
          applications on behalf of a Trust Defendant without reasonable inquiry into the
          validity of the claims made against the consumer-defendant; and, (e) submit[ed]
          default judgment affidavits on behalf of a Trust Defendant where the affiant falsely
          attested to personal knowledge of proof of indebtedness.
CCAC ¶ 284.


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concerning state-court actions," initially limited to 5% of the putative class members in New York.

See Order dated Aug. 6, 2020 (Dkt. 204) ¶ 5.

                       a)     Plaintiffs' Depositions and Declarations

       At deposition, none of the named plaintiffs claimed to have read and relied on the allegedly

false pleadings and affidavits filed in the state court collection actions against them, and several

plaintiffs expressly conceded that they did not read (or could not remember reading) those

documents. See, e.g., Def. K. Seaman Dep. Tr. (Dkt. 362-1) at 170:4-20, 282:8-283:2; Def.

M. Seaman Dep. Tr. (Dkt. 362-2) at 20:6-16, 121:4-16; Def. Bifulco Dep. Tr. (Dkt. 362-3) at

105:9-11, 106:3-12; Def. Frauenhofer Dep. Tr. (Dkt. 362-4) at 184:23-185:24, 187:1-11; Def.

Tabar Dep. Tr. (Dkt. 362-5) at 262:8-263:15, 302:8-22. No plaintiff testified that he or she took

any action, or forbore from taking any action, in reliance on any particular pleading or affidavit.

See, e.g., Def. Bifulco Dep. Tr. at 106:3-12; Def. Frauenhofer Dep. Tr. at 187:12-23.13

       Asked about injuries or damages resulting from the entry of the default judgments against

them, several plaintiffs noted (as other record evidence shows) that their wages had been garnished,

or that they feared garnishment, which caused them financial harm, emotional distress, and stigma.

See, e.g., Pl. K. Seaman Dep. Tr. (Dkt. 390-1) at 302:8-303:6; Pl. M. Seaman Dep. Tr. (Dkt. 390-

2) at 192:6-193:23; Pl. Bifulco Dep. Tr. at 133:1-138:16; Pl. Butry Dep. Tr. (Dkt. 390-5) at 154:4-

22; Pl. Frauenhofer Dep. Tr. (Dkt. 390-6) at 120:11-25; see also Hawkins R. 12(b)(1) Decl.

(Dkt. 390) Exs. 2-A through 2-D (income executions against M. Seaman, Bifulco, Butry, and

Frauenhofer).




13
   Where plaintiffs and defendants separately submitted excerpts of the parties' deposition
testimony, they are identified as "Pl. [name] Dep. Tr." and "Def. [name] Dep. Tr.," respectively.


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       One plaintiff – Tabar – ultimately succeeded in getting the default judgment against her

vacated, and attested that in order to do so, she was required to miss several days of work (for court

appearances and to visit the legal clinic that assisted her), for which she was not paid. Tabar Decl.

(Dkt. 390-3) ¶¶ 2-10. Additionally, Tabar incurred travel and document copying expenses. Id. ¶¶

7, 11. She estimates that the costs she incurred totaled just over $1,000. Id. ¶ 12.

       Defendants acknowledge that TSI-NCO credit-reported each and every named plaintiff

against whom defendants brought debt collection lawsuits, and that in each instance the "tradeline"

reflected a debt owed to "National Collegiate Trust." See Luke Decl. ¶¶ 35, 46, 57, 72, 87.14

However, only two of the six named plaintiffs (Bifulco and Butry) specifically allege that they

were credit-reported, see CCAC ¶¶ 192, 221, and only one (Bifulco) testified at deposition both

that she suffered a "low credit score" due to the National Collegiate Trust tradeline and that the

negative information was disseminated to creditors, who charged her higher interest rates as a

result. Pl. Bifulco Dep. Tr. at 136:10-138:1. Specifically, Bifulco testified that she was charged a

16% interest rate on a car loan, and that she was informed by the dealership that, absent the default

judgment,f the rate would have been six to seven percent. Id. at 138:2-16.

                       b)      Sampling

       Defendants identified "3,914 accounts subject to state-court suits in New York where one

of the four Trust Defendants was a named plaintiff," and produced files for a sample of 189

accounts (5% of the total), representing collection actions against 322 borrowers and co-borrowers.

Hawkins R. 23 Decl. ¶¶ 37-38.


14
  "A tradeline is a term used by credit reporting agencies to describe credit accounts listed on your
credit report. For each account you have, there is a separate tradeline, which includes information
about the creditor and the debt." Experian, What Are Tradelines and How Do They Affect You?
https://www.experian.com/blogs/ask-experian/what-are-tradelines/ (last visited March 13, 2023).
"The information included in your tradelines is primarily used to calculate your credit scores." Id.


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       Based on their review of those files, plaintiffs report that:

              the pleadings filed against the named plaintiffs "are effectively identical to those

               [filed] against all other Class members," at least in New York;

              defendants obtained a default judgment in 50% of the cases in the sample;

              the debtor "settled after being sued" in 27% of the cases;

              the Trust Defendant named as plaintiff "lost, discontinued, or abandoned" the suit

               in 21.5% of cases, including in cases where the debtor appeared and defended; and

              the Trust Defendant named as plaintiff "prevail[ed] in state court against a Class

               member who appeared to defend themselves" in "only roughly 1.5%" of the cases.

Id. ¶ 40. Defendants do not contest these statistics.

       Although plaintiffs pled this case as a nationwide class action, see CCAC ¶ 36, they never

sought or obtained leave to expand their class discovery (via sampling) beyond New York.

               5.      Motion for Class Certification

       On June 3, 2021, plaintiffs filed their motion for class certification pursuant to Rule 23,

supported by the declaration of Asher Hawkins. In their moving brief, plaintiffs asked the Court

to certify a single, nationwide class under Fed. R. Civ. P. 23(b)(3), including "(a) all persons sued

in state-court lawsuits related to the collection of consumer debt, (b) in which any Trust Defendant

was identified as plaintiff in the complaint, (c) from February 27, 2012 through February 27,

2018," and then to "subdivide" that class, "[f]or purposes of notice and application of any statutory

damages cap," such that "there is a Rule 23(b)(3) class for each Trust and each state." Pl. R. 23 Br.

at 10.15 Plaintiffs also asked the Court to certify a single, nationwide class under Fed. R. Civ. P.


15
   Under FDCPA, a successful plaintiff may elect to recover either the "actual damage[s]
sustained" as a result of the violation, 15 U.S.C. § 1692k(a)(1), or statutory damages, which in a



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23(b)(2), defined to include "(a) all persons sued in state-court lawsuits related to the collection of

consumer debt, (b) in which any Trust Defendant was the plaintiff, and (c) against whom TSI-

NCO reported the alleged debt to Equifax, Experian, and/or TransUnion." Id. Because the purpose

of the Rule 23(b)(2) class is to seek injunctive relief, rather than damages, plaintiffs argue that

"[n]o subclasses are required." Id.

       On August 12, 2021, defendants filed an opposition memorandum (Def. R. 23 Opp.)

(Dkt. 323), supported by the declarations of Bradley Luke, Ralph Lyons, and James Schultz

(Dkt. 331). On September 14, 2021, plaintiffs filed a reply memorandum (Pl. R. 23 Reply)

(Dkt. 337), supported by the reply declaration of Asher Hawkins (Hawkins R. 23 Reply Decl.)

(Dkt. 336). Thereafter, with the Court's permission (Dkt. 339), defendants filed a sur-reply

(Def. R. 23 Sur-Reply) (Dkt. 338-1), and plaintiffs filed a response thereto (Dkt. 341), supported

by the supplemental declaration of Asher Hawkins (Hawkins R. 23 Supp. Decl.) (Dkt. 342).

               6.      Motion to Dismiss for Lack of Standing

       On March 18, 2022 – at which point the Rule 23 motion was fully briefed but still pending

and undecided – defendants filed a letter seeking "permission to file a motion under Fed. R. Civ.

P. 12(b)(1) seeking dismissal of certain of Plaintiffs' claims for lack of Article III standing."

Def. 3/18/22 Ltr. (Dkt. 362) at 1. The proposed motion would be based on the Supreme Court's

opinion in TransUnion, which had been decided a few weeks after plaintiffs filed their class

certification motion, and was cited in defendants' opposition papers – but only to support a narrow



class action are capped at $1,000 for each named plaintiff and "such amount as the court may allow
for all other class members, without regard to a minimum individual recovery, not to exceed the
lesser of $500,000 or 1 per centum of the net worth of the debt collector." Id. § 1692k(a)(2). The
obvious purpose of plaintiffs' request for a separate Rule 23(b)(3) class for each Trust and each
state was to overcome the $500,000 cap that would otherwise apply to a single nationwide class,
and to make it possible for each class (of which there could be as many as 200, if all four Trust
Defendants sued consumers in all 50 states) to seek its own $500,000 statutory damages award.


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argument that any putative class member against whom a debt collection lawsuit was discontinued

"prior to service of a complaint and/or any appearance in the action" would "not have standing" to

pursue any of the claims asserted in the CCAC. Def. R. 23 Opp. at 10 n.15. Defendants' proposed

Rule 12(b)(1) motion would argue, more broadly, for the "dismissal of certain claims" altogether

on standing grounds, including all of plaintiffs' claims based on the specific false or misleading

statements in defendants' state court filings and all of their claims based on defendants' false credit-

reporting. Def. 3/18/22 Ltr. at 2-3.

        Plaintiffs objected, arguing, that having invoked TransUnion for a limited purpose in their

class certification papers, "Defendants are now estopped from suddenly urging that Plaintiffs be

held to a different, novel theory of standing." Pl. 05/23/22 Ltr. (Dkt. 363) at 1. However, mindful

of the rule that lack of subject matter jurisdiction "may be raised by a party, or by a court on its

own initiative, at any stage in the litigation," In Touch Concepts, Inc. v. Cellco P'ship, 788 F.3d

98, 101 (2d Cir. 2015), and recognizing that defendants' standing challenge, if it had merit, could

affect the outcome of the class certification motion, I set a briefing schedule for the Rule 12(b)(1)

motion. (Dkt. 364.)

        Thereafter, on April 7, 2022, defendants filed their Rule 12(b)(1) motion. As promised in

their pre-motion letter, defendants sought the dismissal of some but not all of plaintiffs' claims,

namely, those based on "allegedly false statements made in court filings in other actions and

allegedly inaccurate credit reporting." Def. R. 12(b)(1) Br. (Dkt. 372) at 1. The false statements

did not cause any "injury in fact," defendants argued, because plaintiffs were not "confused or

misled" by them and did not take or refrain from taking any action because of them. Id. at 5-7. The

false credit-reporting did not cause any injury-in-fact, in defendants' view, because no plaintiff

alleged that any inaccurate report was disseminated "to third parties from the credit bureaus." Id.




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at 8. Defendants assured the Court that plaintiffs' claims would remain alive to the extent they were

based on the harms alleged in CCAC ¶¶ 274(a)-(b) and 280(a)-(b), which alleged that defendants

filed debt collection lawsuits en masse, "without the intent or ability to prove the claims, if

contested," for the sole purpose of "procuring default judgments against consumers and/or

extracting settlements from them." See Def. R. 12(b)(1) Br. App'x A (Dkt. 372 at ECF pp. 13-14),

at 1 n.1.

        On April 22, 2022, plaintiffs filed their opposition brief (Pl. R. 12(b)(1) Opp.) (Dkt. 389),

accompanied by another Hawkins declaration (Hawkins R. 12(b)(1) Decl.), and on April 29, 2022,

defendants filed their reply brief, which again asked the Court to dismiss "the subset of Plaintiffs'

claims" identified in Appendix A to their opening brief. Def. R. 12(b)(1) Reply (Dkt. 397) at 5. On

April 8, 2022, Judge Gardephe referred both the Rule 23 motion and the Rule 12(b)(1) motion to

me for report and recommendation. (Dkt. 373.)

               7.      Oral Argument

        The Court heard oral argument on both motions on May 5, 2022. Defendants took this

occasion to expand their argument yet again, arguing – for the first time – that TransUnion requires

dismissal of this consolidated action in its entirety. See Tr. of May 5, 2022 Hearing (Hr'g Tr.)

(Dkt. 402), at 29:3-34:23 (defendants' counsel, explaining that the more aggressive argument

dawned on him "as [they] were preparing [for oral argument] last night"). Plaintiffs, for their part

– after fielding a series of questions from the bench concerning the certifiability of a nationwide

class, as well as the inclusion, in the class definition, of consumers against whom no default

judgments were entered – asked for an opportunity to "modify the proposed class definition[s] in

accordance with the Court's concerns[.]" Id. at 110:17-20. Consequently, at the conclusion of the

hearing, I directed the parties to file supplemental briefs with respect to both motions. (Dkt. 399.)




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               8.      Supplemental Briefing

        On May 26, 2022, defendants filed their supplemental memorandum in support of their

expanded Rule 12(b)(1) motion (Def. R. 12(b)(1) Supp. Br.), and plaintiffs filed their supplemental

memorandum setting out the modified proposed class definitions summarized above. (Pl. R. 23

Supp. Br.) Plaintiffs also filed a supplemental memorandum concerning the categories of damages

they seek on a classwide basis. (Pl. Damages Supp. Br.) On June 9, 2022, defendants responded

to plaintiffs' supplemental briefs (Def. R. 23 Supp. Opp.) (Dkt. 414); Def. Damages Supp. Opp.

(Dkt. 415)), and plaintiffs responded to defendants' supplemental brief (Pl. R. 12(b)(1) Supp. Opp.)

(Dkt. 416). Thereafter, the parties periodically submitted letters and notices discussing new

decisions of interest. (Dkts. 419-22.)

II.     ANALYSIS

        A.     Legal Standards

               1.      Standing

        The question at the heart of every dispute over constitutional standing is "whether the

plaintiff has alleged such a personal stake in the outcome of the controversy as to warrant his

invocation of federal-court jurisdiction and to justify exercise of the court's remedial powers on

his behalf." Warth v. Seldin, 422 U.S. 490, 498-99 (1975) (internal quotations omitted). Because

that question is rooted in Article III of the Constitution, which limits the subject matter jurisdiction

of the federal courts to actual "cases" and "controversies," U.S. Const. art. III § 2, standing is

properly challenged pursuant to Rule 12(b)(1), and is "the threshold question in every federal

case." Warth, 422 U.S. at 498. Standing may be raised "at any stage in the litigation," In Touch

Concepts, 788 F.3d at 101, including class certification. Denney v. Deutsche Bank AG, 443 F.3d

253, 263 (2d Cir. 2006).




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       "To meet the Article III standing requirement, a plaintiff must have suffered an 'injury in

fact' that is 'distinct and palpable'; the injury must be fairly traceable to the challenged action; and

the injury must be likely redressable by a favorable decision." Denney, 443 F.3d at 263 (quoting

Lujan v. Defenders of Wildlife, 504 U.S. 555, 560-61 (1992)). The first element, "injury in fact,"

requires that plaintiff allege an injury that is both "concrete and particularized," as well as "actual

or imminent, not conjectural or hypothetical." Spokeo, Inc. v. Robins, 578 U.S. 330, 339-41 (2016)

(emphasis in original) (in bringing an action for violations of the Fair Credit Reporting Act

(FCRA), 15 U.S.C. § 1681, et seq., plaintiff could not merely "allege a bare procedural violation,

divorced from any concrete harm, and satisfy the injury-in-fact requirement"); see also

TransUnion, 141 S. Ct. at 2205 ("Only those plaintiffs who have been concretely harmed by a

defendant's statutory violation may sue[.]"). "The plaintiff, as the party invoking federal

jurisdiction, bears the burden of establishing these elements." Spokeo, 578 U.S. at 338. Moreover,

"standing is not dispensed in gross; rather, plaintiffs must demonstrate standing for each claim that

they press and for each form of relief that they seek (for example, injunctive relief and damages)."

TransUnion, 141 S. Ct. at 2208.

       Not only must each named plaintiff in a class action have standing to sue; "no class may

be certified that contains members lacking Article III standing." Denney, 443 F.3d at 264; see also

Petrosino v. Stearn's Prods., Inc., 2018 WL 1614349, at *4-5 (S.D.N.Y. Mar. 30, 2018)

(explaining that "[s]tanding in the class action context requires a bifurcated inquiry" in which the

court first ensures that the named plaintiffs have plausibly alleged an "injury-in-fact" sufficient to

confer Article III standing on them, and then determines whether the conduct that caused that

injury "implicates the same set of concerns as the conduct alleged to have caused injury to other

members of the putative class by the same defendants"). At the class certification stage, the courts




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"do not require that each member of a class submit evidence of personal standing." Denney, 443

F.3d at 263. Instead, "the class must . . . be defined in such a way that anyone within it would have

standing." Id. at 264.

       If the standing challenge is based upon the pleadings, the court must "accept as true all

material allegations of the complaint." Denney, 443 F.3d at 263 (quoting Warth, 422 U.S. at 501).

But if "jurisdictional facts are placed in dispute, the court has the power and obligation to decide

issues of fact by reference to evidence outside the pleadings, such as affidavits." APWU v. Potter,

343 F.3d 619, 627 (2d Cir. 2003) (quoting LeBlanc v. Cleveland, 198 F.3d 353, 356 (2d Cir. 1999)).

Where, as here, the motion is made after full fact discovery, the Court appropriately looks to the

relevant portions of the discovery record in determining the motion. See Carter v. HealthPort

Techs., LLC, 822 F.3d 47, 57 (2d Cir. 2016).

               2.        Class Certification

       Rule 23 requires the party seeking certification to establish that:

       (1)     the class is so numerous that joinder of all members is impracticable;
       (2)     there are questions of law or fact common to the class;
       (3)     the claims or defenses of the representative parties are typical of the claims
               or defenses of the class; and
       (4)     the representative parties will fairly and adequately protect the interests of
               the class.

Fed. R. Civ. P. 23(a). In addition, "[s]ome courts have read into Rule 23 an implied requirement

that the class be ascertainable." Rodriguez v. It's Just Lunch, Int'l, 300 F.R.D. 125, 138 (S.D.N.Y.

2014) (internal quotations omitted). "An identifiable class exists if its members can be ascertained

by reference to objective criteria." In re Methyl Tertiary Butyl Ether ("MTBE") Prod. Liab. Litig.,

209 F.R.D. 323, 337 (S.D.N.Y. 2002) (citation omitted).

       Beyond that, "the movant must show that the action is one of three types described in

section (b)." Ciaramella v. Zucker, 2019 WL 4805553, at *12 (S.D.N.Y. Sept. 30, 2019) (quoting



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Jackson v. Bloomberg, L.P., 298 F.R.D. 152, 159 (S.D.N.Y. 2014)). In this case, plaintiffs seek

class certification under Rules 23(b)(2) and 23(b)(3).

       Under Rule 23(b)(2), ordinarily used to obtain classwide declaratory or injunctive relief, a

class action may be maintained if "the party opposing the class has acted or refused to act on

grounds that apply generally to the class, so that final injunctive relief or corresponding declaratory

relief is appropriate respecting the class as a whole." Additionally, certification of a Rule 23(b)(2)

class requires a showing that defendants caused harms "that apply generally to the class," such that

the conduct "can be enjoined or declared unlawful only as to all of the class members or as to none

of them." Sykes v. Mel Harris & Assocs. LLC, 285 F.R.D. 279, 294 (S.D.N.Y. 2012) (Sykes II)

(quoting Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 360 (2011) (certifying separate classes

under Rules 23(b)(2) and 23(b)(3))).

       Under Rule 23(b)(3), which permits plaintiffs to seek classwide damages, they must

demonstrate that questions of law or fact common to the members of the proposed class

"predominate over any questions affecting only individual members," and that a class resolution

is "superior to other available methods for the fair and efficient adjudication of the controversy."

In re Nassau Cnty. Strip Search Cases, 461 F.3d 219, 221, 224 (2d Cir. 2006) (quoting Fed. R.

Civ. P. 23(b)(3)). "To certify a class, a district court must make a definitive assessment of Rule 23

requirements, notwithstanding their overlap with merits issues, . . . must resolve material factual

disputes relevant to each Rule 23 requirement, and must find that each requirement is established

by at least a preponderance of the evidence." Rodriguez, 300 F.R.D. at 132. "If both Rule 23(a)

and Rule 23(b) are satisfied, the Court may, in its discretion, certify the class." Id.




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       B.      Plaintiffs Have Standing to Sue

               1.      Defendants' Argument

       As noted above, defendants' (most recent) position is that TransUnion precludes all of the

named plaintiffs' claims, requiring dismissal of this action in toto for lack of standing. In

defendants' view, TransUnion made the "injury in fact" inquiry under Article III of the Constitution

equivalent to the "actual injury" requirement for GBL § 349 claims. Def. R. 12(b)(1) Supp. Br. at

3, 6. Thus, they conclude, to the extent Judge Gardephe held in 2019 that a particular named

plaintiff failed to adequately plead an "actual injury" for purposes of GBL § 349 on one of the two

bases he considered (wage garnishment and improper credit-reporting), that plaintiff is also

precluded, on standing grounds, from asserting any of the FDCPA claims alleged in the

Consolidated Class Action Complaint.16 Id. Moreover, defendants argue, wage garnishment cannot

constitute the required "concrete injury" (even though Judge Gardephe determined that it could,

see Michelo, 419 F. Supp. 3d at 709), because that species of harm is not "redressable" in federal

court pursuant to the Rooker-Feldman doctrine. Def. R. 12(b)(1) Supp. Br. at 3, 8-10.

       Defendants go on to consider – and reject as a basis for standing – three additional species

of harm, which were not expressly considered by Judge Gardephe. First, defendants say, plaintiffs

cannot show that they were harmed by detrimentally relying on defendants' false statements (see

CCAC ¶¶ 274(c)-(g), 280(c)-(g)), because they cannot show any such reliance. Def. R. 12(b)(1)




16
  This portion of defendants' argument focuses solely upon the pleadings when they are sparse,
ignoring the discovery record. For example, defendants argue that plaintiff Bifulco has not
adequately alleged an actual injury based on defendants' credit-reporting, because she pleads only
that the improper credit-reporting occurred – not that it "actually affected her credit or otherwise
caused her damage." Def. R. 12(b)(1) Supp. Br. at 7 (quoting Michelo, 419 F. Supp. 3d at 709).
However, as discussed in Part I.D.4(a), supra, Bifulco clearly testified at deposition that she was
negatively credit-reported and that she suffered higher interest rates on an auto loan and credit
cards as a result. See Pl. Bifulco Dep. Tr. at 136:10-138:1.


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Supp. Br. at 5. Second, according to defendants, plaintiffs cannot show that they suffered

reputational harm caused by the fraudulent lawsuits filed against them or the resulting default

judgments (see CCAC ¶¶ 274(a)-(b), 280(a)-(b)), because under the Second Circuit's post-

TransUnion decision in Maddox v. Bank of New York Mellon Tr. Co., N.A., 19 F.4th 58 (2d Cir.

2021) (Maddox II), plaintiffs are required to establish that a third party "viewed the record (causing

a reputational harm)," which they cannot. Def. R. 12(b)(1) Supp. Br. at 5-6. Third, defendants

argue, plaintiff Tabar cannot point to the costs incurred in successfully moving to vacate the default

judgment against her (even though Judge Gardephe held that those costs satisfied the "damages

element" of her NYJL § 487 claim, see Michelo, 419 F. Supp. 3d at 714 & n.29), because "costs

to vacate a default do not confer standing." Def. R. 12(b)(1) Supp. Br. at 6 n.5.

                2.      The TransUnion Decision

         Given that defendants' Rule 12(b)(1) motion turns on TransUnion, it bears briefly

summarizing what the Supreme Court did in that case. The class comprised 8,185 individuals who

alleged that TransUnion, one of the major credit reporting agencies, violated the FCRA by failing

to use reasonable procedures to ensure the accuracy of its credit files. 141 S. Ct. at 2200.

TransUnion had placed an internal alert on each class member's credit file to indicate that his or

her name was a "potential match" to a name on a list of "specially designated nationals" (SDNs)

kept by the U.S. Treasury Department's Office of Foreign Assets Control (OFAC) – an

ignominious designation reserved for "terrorists, drug traffickers, or other serious criminals." Id.

at 2201. The named plaintiff, Ramirez, "learned the hard way" that the list contained many "false

positives" when an automobile dealer refused to sell him a car because his name was on a "terrorist

list." Id.

         After the class was certified, the parties stipulated that "only 1,853 members of the class

(including Ramirez) had their credit reports disseminated by TransUnion to potential creditors"


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during the relevant period. 141 S. Ct. at 2202. Nonetheless, the district court ruled that all 8,185

had Article III standing, the case went to trial, and the jury returned a verdict for the class. Id. The

Ninth Circuit affirmed, but Supreme Court reversed and remanded, holding that only the 1,853

class members whose misleading credit reports were disseminated to third-party businesses

"demonstrated concrete reputational harm and thus have Article III standing to sue." Id. at 2200.

       Writing for the Court, Justice Kavanaugh observed that "history and tradition offer a

meaningful guide to the types of cases that Article III empowers federal courts to consider," and

that "with respect to the concrete-harm requirement in particular . . . courts should assess whether

the alleged injury to the plaintiff has a 'close relationship' to a harm 'traditionally' recognized as

providing a basis for a lawsuit in American courts." 141 S. Ct. at 2204 (quoting Spokeo, 578 U.S.

at 341). The test "asks whether plaintiffs have identified a close historical or common-law analogue

for their asserted injury," but "does not require an exact duplicate in American history and

tradition." Id. Among the harms that satisfy Article III, are "physical harms," "monetary harms,"

and "[v]arious intangible harms," including "reputational harms, disclosure of private information,

and intrusion upon seclusion." Id.

       Applying these principles, the Court found that the 1,853 class members whose credit

reports – including the inaccurate SDN alert – were disseminated to third-party businesses

"suffered a harm with a 'close relationship' to the harm associated with the tort of defamation," and

therefore suffered "a concrete harm that qualifies as an injury in fact." TransUnion, 141 S. Ct. at

2209.17 However, the remaining class members, whose credit files were inaccurate but were not

disseminated beyond TransUnion, lacked standing, because:



17
  The Court did not require those 1,853 class members to show that they were unable to purchase
an automobile (like Ramirez) or suffered another tangible harm. 141 S. Ct. at 2204. Rather, the



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       The mere presence of an inaccuracy in an internal credit file, if it is not disclosed
       to a third party, causes no concrete harm. In cases such as these where allegedly
       inaccurate or misleading information sits in a company database, the plaintiffs'
       harm is roughly the same, legally speaking, as if someone wrote a defamatory letter
       and then stored it in her desk drawer. A letter that is not sent does not harm anyone,
       no matter how insulting the letter is. So too here.

Id. at 2210 (emphasis added).

               3.      The Legal Landscape Following TransUnion

       Since TransUnion, many lower courts have relied on it to dismiss consumer claims that

were not previously thought vulnerable to a standing challenge. See, e.g., Ciccone v. Cavalry

Portfolio Servs., LLC, 2021 WL 5591725, at *3, *5 (E.D.N.Y. Nov. 29, 2021) (dismissing FDCPA

claims for lack of standing and observing that TransUnion "'substantially and materially' changed

a district court's analysis of Article III standing in statutory consumer law cases"). In particular,

courts within our Circuit have dismissed numerous cases that fall into one of two broad categories:

       False Statement/No Reliance Cases. Where the gravamen of the claim is that a debt

collector made false or misleading statements in dunning letters, but the plaintiff did not actually

read or rely on those letters (or show any specific pecuniary or reputational harm flowing from

them), the case will be dismissed. See, e.g., Rosenberg v. McCarthy, Burgess & Wolff, Inc., 2022

WL 3030390, at *5 (E.D.N.Y. Aug. 1, 2022) (no standing in FDCPA case where plaintiff "did not

allege that the [creditor's] letter caused her to take or refrain from taking any action or that she

suffered any financial, legal, or other harm beyond the alleged statutory violations"); Ergas v.




intangible reputational harm supplied the necessary "injury in fact." Id. See also Martinez v.
Avantus, LLC, 2023 WL 112807, at *6 (D. Conn. Jan. 5, 2023) (noting that "[t]he reputational
harm stemming from the dissemination of a statement of this kind is a concrete harm on its own,
regardless of any detrimental reliance on the statement," and holding that plaintiff Martinez
"clearly suffered an injury in fact as a result of Avantus publishing his credit report bearing the
misleading OFAC alert," notwithstanding that plaintiff's mortgage broker "never believed" that
plaintiff was a terrorist and ultimately was able to find him a lender).


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Eastpoint Recovery Grp., Inc., 2022 WL 1471348, at *9 (W.D.N.Y. May 10, 2022) (no standing

in FDCPA case where plaintiff "took no action upon receipt of the dunning letter with the

unfamiliar creditor" and did "not claim he refused to act because of . . . the letter to his later

detriment"), modified on recon., 2022 WL 2128029, at *3 (W.D.N.Y. June 14, 2022) (preserving

prior reasoning and specifying that the basis of the decision was lack of standing).

       Negative Credit-Reporting/No Downstream Dissemination Cases. Where the gravamen of

the claim is that the defendant improperly reported negative information about the plaintiff to a

credit bureau, but the plaintiff cannot show that the information was further disseminated to

potential creditors, the case will ordinarily be dismissed. See, e.g., Charles v. TransUnion, LLC,

2022 WL 4539693, at *2 (E.D.N.Y. Sept. 28, 2022) (dismissing case where, "[a]lthough Plaintiff

states he suffered harm to his reputation, the [credit reporting] agencies never issued a consumer

report to a third party reporting Plaintiff's [disputed] Verizon account"); Spira v. Trans Union,

LLC, 2022 WL 2819469, at *5-6 (S.D.N.Y. July 19, 2022) (dismissing case where plaintiff alleged

that an inaccurate report allegedly went to the credit bureaus, but did not allege any "concrete

injury" resulting from further dissemination of that report to actual creditors); Swainson v.

Lendingclub Corp., 2022 WL 2704629, at *8 (S.D.N.Y. June 24, 2022) ("[A]bsent dissemination,

an inaccuracy in a credit report, standing alone, does not give a consumer standing to bring a FCRA

claim."), report and recommendation adopted, 2022 WL 2704486 (S.D.N.Y. July 12, 2022);

Grauman v. Equifax Info. Servs., LLC, 549 F. Supp. 3d 285, 291-92 (E.D.N.Y. 2021) (dismissing

case where plaintiff failed to allege "that his credit report was disseminated to third parties" during

the period when it contained inaccurate information).18



18
  The rule is not entirely inflexible. In In re Anderson, 641 B.R. 1 (Bankr. S.D.N.Y. 2022), the
court held that a debtor who was previously granted a discharge in bankruptcy, had constitutional



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        These cases do not, for the most part, require that the plaintiff show a specific financial

injury (such as being denied a loan or charged a higher interest rate) in order to establish Article

III standing.19 But in the wake of Maddox II, they do require (except in unusual circumstances)

that the plaintiff show some further dissemination of the credit report containing the negative

tradeline to a potential creditor that is in a position to evaluate that plaintiff's creditworthiness. See

Krausz, 2023 WL 1993886, at *9 (it is enough that "Defendant's credit reports were sent to third

party creditors with the alleged inaccurate information").

        To the extent the case at bar falls into one of these two categories, defendants' motion

should be granted. But, as shown below, that will not dispose of the entire case. In accordance with

TransUnion, 141 S. Ct. at 2208, I separately consider "each claim" that plaintiffs press.




standing to bring a "discharge enforcement action," id. at 16 n.5, to redress a creditor's "systematic
refusal after the discharge of an unsecured debt upon which it was a reporting entity to notify credit
reporting agencies of the debt's changed status from 'charged off' to being subject to the bankruptcy
discharge," without regard to further publication of the resulting credit report. Id. at 14. The court
explained the defamatory significance of the "charged off" notation as to a pre-bankruptcy debt:
"[F]ailing to report the discharge while reflecting a bankruptcy on a credit report would reasonably
be understood by a former debtor to state to the world that he had been in bankruptcy but had not
received a discharge," and thus that "he was guilty of a bad act for which he did not deserve a
discharge." Id. at 50. The court then held that Anderson (and others similarly situated) were
concretely injured by "Credit One's systematic policy of refusing to correct its tradelines," because
the purpose and effect of that misconduct was "to pressure Anderson and the putative class
members to pay their discharged debts" in order to clean up their credit reports. Id. at 55.

19
   As Judge Karas recently explained in Krausz v. Equifax Info. Servs., 2023 WL 1993886
(S.D.N.Y. Feb. 14, 2023), a concrete reputational injury can confer Article III standing (as it did
for the class of 1,853 in TransUnion), and such an injury, which is "caused by dissemination," "is
not tied to actual credit denial or related harms." Id. at *10 (holding that plaintiff adequately pled
standing by alleging in non-conclusory terms that his negative credit report was further
disseminated by the credit bureaus to third parties, even though those third parties made only "soft"
inquiries, and no actual pecuniary harm resulted).


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               4.      Plaintiffs Do Not Have Standing to Bring Claims Based on Specific
                       False or Misleading Statements (CCAC ¶¶ 274(c)-(g), 280(c)-(g))

       Defendants are correct that none of the named plaintiffs has standing to pursue the FDCPA

and GBL § 349 claims outlined in CCAC ¶¶ 274(c)-(g) and 280(c)-(g) – based on specific false

statements made in state court debt-collection proceedings – because no plaintiff has testified that

he or she ever read and detrimentally relied on any of those statements. See Def. K. Seaman Dep.

Tr. at 170:4-20, 282:8-283:2; Def. M. Seaman Dep. Tr. at 20:6-16, 121:4-16; Def. Bifulco Dep.

Tr. at 105:9-11, 106:3-12; Def. Frauenhofer Dep. Tr. at 184:23-185:24, 187:1-11; Def. Tabar Dep.

Tr. at 262:8-263:15, 302:8-22. Similarly, no plaintiff has testified that he or she took or forbore

from any action in reliance on any of the specific statements made in defendants' pleadings or

affidavits. See, e.g., Def. Bifulco Dep. Tr. at 106:3-12; Def. Frauenhofer Dep. Tr. 187:12-23.

Absent evidence of actual harm directly caused by one of the allegedly false statements that

defendants made in state court, plaintiffs lack standing to bring their FDCPA claims (or pendent

state GBL § 349 claims) on that basis. See Rosenberg, 2022 WL 3030390, at *5; Ergas, 2022 WL

1471348, at *9.

               5.      Only Bifulco Has Standing Based on Negative Credit-Reporting
                       (CCAC ¶¶ 274(h), 280(h))

       TSI-NCO concedes that it did in fact credit-report each plaintiff (although it claims to have

done so "properly and accurately"), and that the resulting tradelines reflected debts to National

Collegiate Trust. Luke Decl. ¶¶ 35, 46, 57, 72, 87. Only Bifulco, however, testified that she had a

"low credit score" and paid a higher interest rate on a car loan and credits cards as a result of the

National Collegiate Trust tradeline. Pl. Bifulco Dep. Tr. at 136:10-138:1. With regard to the car

loan, Bifulco testified that the interest rate on the loan was 16%, and that she was told by the

dealership that "absent the judgment being on [her] credit report," the rate would have been six to

seven percent. Id. at 138:2-16. Her testimony thus establishes both concrete reputational harm,


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flowing from the "dissemination" of the adverse credit report to the car dealership and credit card

companies, see Krausz, 2023 WL 1993886, at *10, and concrete financial harm, flowing from the

higher interest rates that she actually paid as a direct result of defendants' tradeline. Cf. Grauman,

549 F. Supp. 3d at 292 (plaintiff failed to plead concrete financial injury because he made "no

claim that he tried or was imminently planning to try to use his credit report to procure credit").

       The remaining plaintiffs have made no showing of either reputational or financial harm

resulting from defendants' negative credit-reporting, and therefore have no standing to sue

defendants for that conduct in this Court. See Grauman, 549. Supp. 3d at 292 (the "lack of

dissemination of Grauman's credit report" rendered him unable to plead either concrete

reputational harm or concrete financial harm, as required for standing).

       In an effort to save these claims from dismissal, plaintiffs cite Ewing v. MED-1 Sols., LLC,

24 F.4th 1146 (7th Cir. 2022), which held that a consumer suffers a concrete reputational injury,

sufficient for Article III standing, when a debt collector "disseminates" negative information about

that consumer to a debt collection agency such as TransUnion. See Pl. R. 12(b)(1) Opp. at 10-12.

Thus, according to plaintiffs, it is enough for them to show that defendants "credit-report[ed]

dubious information [about them] to the bureaus." Id. at 11 (citing Ewing, 24 F.4th at 1153-54).

       Plaintiffs have correctly read Ewing. In that case, brought under FDCPA, the defendant

debt collectors reported certain debts to the credit reporting agencies without also reporting – as

required – that the debts were disputed. Ewing, 24 F.4th at 1149. On appeal from a dismissal on

other grounds, the Seventh Circuit considered whether, under TransUnion, plaintiffs "suffered a

concrete injury when the Debt Collectors communicated false information (i.e., reports of debts

not being disputed) about them to a credit reporting agency," id. at 1152, even though there was

"no evidence that TransUnion sent the Consumers' credit reports to potential creditors." Id. The




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Seventh Circuit answered that question in the affirmative, holding that transmission of the negative

information by the debt collectors to the credit reporting agencies constituted sufficient

"publication" to satisfy TransUnion, since the credit reporting agencies did not "merely process[]"

the negative information in the debt collectors' reports; they "understood" the reports' "defamatory

significance" and took them into account in assessing plaintiffs' creditworthiness. Id. at 1154.

Thus, in the Seventh Circuit's view:

       The [plaintiffs] suffered an intangible, reputational injury that is sufficiently
       concrete for purposes of Article III standing. Specifically, they have shown that
       their injury is related closely to the harm caused by defamation. Reputational harm
       of this sort is a real-world injury; being portrayed as a deadbeat who does not pay
       her debts has real-world consequences.

Ewing, 24 F.4th at 1154.

       This Court, however, is bound by the Second Circuit's opinion in Maddox II. In that case,

two sisters (the Maddoxes) sued their bank under New York's mortgage-satisfaction-recording

statutes, seeking statutory damages for the bank's failure timely to record the satisfaction of their

mortgage as required by statute. Maddox II, 19 F.4th at 59-60.20 Ruling on the pleadings, the

district court held that the Maddoxes had constitutional standing to sue, but "identified the question

as a close one" and certified it for interlocutory appeal. Id. at 61. The Second Circuit initially

answered that question in the affirmative, see Maddox v. Bank of N.Y. Mellon Tr. Co., N.A., 997

F.3d 436 (2d Cir. 2021), but – in light of TransUnion – granted the bank's petition for rehearing,

re-analyzed the question, and held that plaintiffs had not suffered concrete harm sufficient to grant

them standing. See Maddox II, 19 F.4th at 60-65.


20
  The relevant statutes require banks to record a "certificate of discharge," showing that a borrower
has paid off a mortgage, within 30 days of the payoff, and prescribe statutory penalties for delay.
The Maddoxes paid off their $50,000 mortgage in October 2014, when they sold their house, but
the bank failed to record the certificate of discharge until September 2015, nearly one year later.
Maddox II, 19 F.4th at 60.


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        The Maddox court examined four potential species of harm, two of which are relevant here:

reputational harm and financial harm. The court acknowledged that reputational harm, which is

"well established as actionable at common law" and thus potentially sufficient for Article III

standing, could flow from the delayed recording of a satisfaction of a mortgage, which "creat[es]

the false appearance that the borrower has not paid [off] the underlying debt[.]" 19 F.4th at 65.

However, the Maddoxes never alleged any reputational harm. Id. Further, while the misleading

record was, in theory, publicly available, insofar as the record disclosed "it was read by no one."

Id. The court contrasted these facts with TransUnion, where (as to the successful class) "[t]here

could be no doubt that the third-party businesses viewed those credit reports, which they had

specifically requested and paid for." Id. Thus, the court explained, the Maddoxes had shown at

best "a nebulous risk of future harm during the period of delayed recordation," but "that risk, which

was not alleged to have materialized, cannot not form the basis of Article III standing." Id.

Similarly, the court held, since the Maddoxes did not apply for any type of financing during the

period of delayed recordation, they failed to identify any concrete financial harm Id.

        Since Maddox II, the district courts in our Circuit have uniformly held (outside of the

bankruptcy context) that it is insufficient, for standing purposes, for a plaintiff to allege that a debt

collector communicated adverse information about that plaintiff to a credit reporting agency. See

Part II.B.3, supra. In order to demonstrate the necessary reputational or financial harm, the plaintiff

must plead (initially) or make an evidentiary showing (at later stages of the case) that the adverse

information was further disseminated, for example, to a potential creditor. See, e.g., Krausz, 2023

WL 1993886, at *8 ("TransUnion held that, for standing under the FCRA, a plaintiff's credit report

must have been actually disseminated to a third-party entity, and without actual dissemination,

there is no concrete harm and thus no standing") (cleaned up).




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       In this case, only one plaintiff has met the Second Circuit's test. Although plaintiffs argue

in broad terms that the tradelines resulting from defendants' negative credit-reporting "were

included in credit reports on Plaintiffs that the bureaus disseminated during the Class period," Pl.

R. 12(b)(1) Opp. at 11; see also id. at 11 n.16; Pl. Resp. to Def. Notice (Dkt. 420) at 2 ("evidence

already has demonstrated that Defendants' negative statements to the bureaus became 'tradelines'

which were disseminated to third parties, with corresponding harms including loss of credit

opportunity"), the record simply does not substantiate that claim for any plaintiff other than

Bifulco. Since only Bifulco has demonstrated the necessary "concrete harm" to sue defendants in

federal court for reputational or financial injuries caused by their negative credit-reporting, only

Bifulco has standing to sue for that harm. The remaining plaintiffs have demonstrated only "an

inaccuracy in an internal credit file," which, "if it is not disclosed to a third party, causes no

concrete harm." TransUnion, 141 S. Ct. at 2210.

               6.      All Plaintiffs Have Standing to Bring Claims Based on Defendants'
                       Sham Lawsuit Scheme (CCAC ¶¶ 274(a)-(b), 280(a)-(b))

       FDCPA makes it unlawful for a debt collector to use "any false, deceptive, or misleading

representation or means in connection with the collection of any debt," 15 U.S.C. § 1692e, or use

"unfair or unconscionable means to collect or attempt to collect any debt." Id. § 1692f. The "false,

deceptive, or misleading" representation need not be solely made directed to, or solely relied on

by, the borrower, and the "unfair or unconscionable means" need not be practiced solely on the

borrower. See Toohey, 2016 WL 4473016, at *8 ("Notably, the text does not expressly limit the

class of persons to whom the false representation must be made in order to be actionable.").

       Given the broad reach of the statute, district courts in our Circuit have repeatedly

recognized that the type of conduct described in CCAC ¶¶ 274(a)-(b) and 280(a)-(b) – filing

deficient debt-collection lawsuits in bulk, without the intent or ability to prove their claims, in



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hopes of obtaining default judgments or extracting settlements from borrowers ill-equipped to

defend themselves – violates FDCPA as well as GBL § 349. See, e.g., Toohey, 2016 WL 4473016,

at *1 (denying motion to dismiss FDCPA claim alleging that defendants "orchestrated a scheme

to fraudulently obtain and enforce consumer debt judgments . . . in state courts," by bringing

lawsuits "without having sufficient evidence to prove the claimed debts" and filing "false,

deceptive and misleading affidavits of merit . . . to obtain default judgments"); Shetiwy v. Midland

Credit Mgmt., 980 F. Supp. 2d 461, 474 (S.D.N.Y. 2013) (noting, in dicta, that "[t]he mass filing

of form affidavits and other submissions containing false or deceptive representations about the

status and character of a debt may, under certain circumstances, give rise to an actionable FDCPA

claim."); Sykes v. Mel Harris & Assocs., LLC, 757 F. Supp. 2d 413, 418 (S.D.N.Y. 2010) (Sykes

I) (denying, for the most part, defendants' motions to dismiss FDCPA and GBL § 349 claims

alleging that defendants "engaged in a 'massive scheme' to fraudulently obtain default judgments"

in state court by engaging in "sewer service," failing to serve summonses and complaints, filing

false affidavits of service, and then obtaining default judgments when the debtors failed to appear

in court). Similarly, numerous district court decisions have upheld FDCPA claims based on the

"meritless" nature of the claims asserted in a single debt collection action or the unfair means used

in that case.21



21
   See, e.g., Arias v. Gutman, Mintz, Baker & Sonnenfeldt LLP, 875 F.3d 128, 138 (2d Cir. 2017)
(holding that plaintiff Arias stated a claim under 15 U.S.C. § 1692f based on allegations of bad-
faith litigation conduct by the defendant, which "required Arias to prepare needlessly for a hearing
that GMBS knew was frivolous and that was intended primarily to harass Arias, frustrate his
exemption claim, and erect procedural and substantive challenges that Arias, pro se, was ill-
equipped to handle"); Brake v. Slochowsky & Slochowsky, LLP, 504 F. Supp. 3d 103, 109
(E.D.N.Y. 2020) (denying motion to dismiss FDCPA claims based on "Slochowsky's pursuit of
meritless litigation" against plaintiff in housing court); Guzman v. Mel S. Harris & Assocs., LLC,
2018 WL 1665252, at *11-12 (S.D.N.Y. Mar. 22, 2018) (plaintiff raised triable issues of fact, so
as to survive summary judgment, on FDCPA and GBL § 349 claims alleging that defendants filed



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       Defendants do not argue that the "theories of liability" set forth in CCAC ¶ 274(a)-(b) fall

outside of the reach of FDCPA or are improperly pleaded. Instead, in their supplemental briefing,

they contend that plaintiffs cannot bring these claims in federal court because they cannot

"establish a redressable concrete injury as required, especially in light of the Rooker-Feldman

doctrine." Def. R. 12(b)(1) Supp. Br. at 2. Defendants are mistaken.

       As Judge Daniels recognized in Toohey, "[t]here can be no doubt that false, deceptive, or

misleading representations made by debt collectors to state courts with the power to enter

judgments adverse to consumers have the ability to cause consumers severe harm." Toohey, 2016

WL 4473016, at *8. Those harms include: being subjected to a lawsuit that should never have been

brought; suffering the entry of an adverse default judgment in such a lawsuit, followed in many

cases by wage garnishment; and, for those consumers who fought back, incurring significant costs,

both in time and money, to vacate improperly-obtained judgments. See Pl. Damages Supp. Br. at

1 (confirming that, in addition to statutory damages, plaintiffs propose to seek actual damages for

the sums garnished from plaintiffs' wages and, where relevant, "any costs in responding to state-

court actions").22 Each of the named plaintiffs was subjected to a wrongful lawsuit in which an

adverse default judgment was entered. Additionally, four of the named plaintiffs (M. Seaman,

Bifulco, Butry, and Frauenhofer) had their wages garnished to collect that judgment, see Hawkins

R. 12(b)(1) Decl. Exs. 2-A through 2-D, and one (Tabar) incurred over $1,000 in lost wages and



a collection lawsuit based on a false affidavit of service and a false affidavit of merit); Cameron v.
LR Credit 22, LLC, 998 F. Supp. 2d 293, 300 (S.D.N.Y. 2014) (holding that the filing of a time-
barred complaint in a state court debt-collection action violated FDCPA, and collecting cases).
22
   They also propose to seek damages for settlement payments made in state court. Pl. Damages
Supp. Br. at 1. But since none of the named plaintiffs settled, and since the proposed damages
classes are limited to persons against whom a default judgment was entered in state court, see Pl.
R. 23 Supp. Br. at 5, the propriety of that form of relief is irrelevant to the motions now before the
Court.


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out-of-pocket expenses to vacate the improperly-obtained judgment against her (after which the

debt collection case was dismissed). Tabar Decl. ¶ 12.

       These are all "distinct and palpable" injuries in fact, "fairly traceable" to the challenged

action, and redressable in this forum. Denney, 443 F.3d at 263. See Viernes v. DNF Assocs., LLC,

582 F. Supp. 3d 738, 752-53 (D. Haw. 2022) ("being subjected to an unlawful lawsuit is a concrete

harm" sufficient to confer constitutional standing on the wrongly-sued individual, who sought

redress under FDCPA); Robinson v. New York City Transit Auth., 2020 WL 5884055, at *9

(S.D.N.Y. Aug. 31, 2020) ("the entry of an adverse default judgment is a 'concrete' and

'particularized' injury sufficient to establish the injury-in-fact required for Article III standing"),

report and recommendation adopted, 2020 WL 5814189 (S.D.N.Y. Sept. 30, 2020);23 Toohey,

2016 WL 4473016, at *4 n.5 ("Toohey's allegation that the default judgment obtained against her

was obtained improperly sufficiently alleges an 'injury-in-fact' so as to establish constitutional

standing."); Michelo, 419 F. Supp. 3d at 709 ("Wage garnishment is a pecuniary harm that satisfies

the actual injury requirement."); McCrobie v. Palisades Acquisition XVI, LLC, 2022 WL 1657226,

at *13 (W.D.N.Y. Mar. 4, 2022) (wage garnishment constitutes an "actual, concrete injury"

resulting from defendants' violations of FDCPA and NY GBL § 349); First Cap. Asset Mgmt., Inc.

v. Brickellbush, Inc., 218 F. Supp. 2d 369, 382 (S.D.N.Y.) (attorneys' fees and expenses incurred


23
   In Robinson, plaintiffs alleged that the New York City Transit Authority (NYCTA) obtained
and enforced state court default judgments against individuals cited for violating its rules without
giving them constitutionally adequate notice. 2020 WL 5884055, at *1. Accepting the
recommendation of the undersigned magistrate judge, Judge Torres certified a class consisting of
"all people against whom the NYCTA 'has obtained or will obtain a default judgment in a New
York State court,' excluding those who paid their default judgments voluntarily or whose claims
were time-barred." 2020 WL 5814189, at *2. Before reaching the Rule 23 analysis, Judge Torres
considered the standing issue and agreed that the issuance of a default judgment "constitutes a
concrete and particularized injury," that "this injury is fairly traceable to the NYCTA's allegedly
unconstitutional practices," and consequently that "the proposed class members have standing."
Id. at *3.


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to contest an allegedly "fraudulent Chapter 7 petition" were "sufficient to confer standing" for

certain of plaintiffs' RICO claims), on reconsideration, 219 F. Supp. 2d 576 (S.D.N.Y. 2002), aff'd

sub nom. First Cap. Asset Mgmt., Inc. v. Satinwood, Inc., 385 F.3d 159 (2d Cir. 2004).24

       Moreover, these harms bear "a close relationship to harms traditionally recognized as

providing a basis for lawsuits in American courts," TransUnion, 141 S. Ct. at 2204, specifically,

common-law "unjustifiable litigation" torts such as civil malicious prosecution, abuse of process,

and wrongful use of civil proceedings.25 Several district courts, both within and without our

Circuit, have looked to the harms redressable in unjustifiable-litigation cases to analyze standing

in FDCPA cases arising out of alleged litigation misconduct. See Makhnevich v. Bougopoulos,

2022 WL 939409, at *5 n.7 (E.D.N.Y. Mar. 29, 2022) (analogizing to "common-law unjustifiable-

litigation torts" to find that FDCPA plaintiff had standing to sue for defendants' "alleged

misconduct during the Civil Court [debt collection] action"); Benjamin v. Rosenberg & Assocs.,

LLC, 2021 WL 3784320, at *6 (D.D.C. Aug. 26, 2021) (plaintiff had Article III standing with

respect to her FDCPA claims, which arose largely out of defendant's alleged litigation misconduct



24
   See also In re Anderson, 641 B.R. at 13-14, 55 (holding, in an action to redress Credit One's
"systematic refusal" to correct its tradelines to show that plaintiff's debt was discharged in
bankruptcy, that plaintiff had constitutional standing to press the claim because he was injured by
(i) Credit One conduct (which violated the Bankruptcy Court's discharge injunction), and (ii) the
"substantial fees and expenses" that Anderson incurred to enforce the injunction, constituting "a
second concrete harm" fairly traceable to the discharge injunction violation and redressable in
Bankruptcy Court).
25
  See Restatement (Second) of Torts § 674 (1977) ("One who takes an active part in the initiation,
continuation or procurement of civil proceedings against another is subject to liability to the other
for wrongful civil proceedings if (a) he acts without probable cause, and primarily for a purpose
other than that of securing the proper adjudication of the claim in which the proceedings are based,
and (b) except when they are ex parte, the proceedings have terminated in favor of the person
against whom they are brought."). The successful plaintiff in such a lawsuit may recover
compensation for "the harm to his reputation" caused by the improperly-filed proceeding, the
"expense that he has reasonably incurred in defending himself" against it, any "specific pecuniary
loss" resulting from those proceedings, and any resulting emotional distress. Id. § 681.


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in prior foreclosure proceeding, because 15 U.S.C. § 1692e "seeks to remedy a harm closely related

to one recognized at common-law (i.e., wrongful-litigation torts)" and plaintiff's asserted injuries

– mental distress, interest, fees, and costs – "are sufficiently concrete to pass Article III scrutiny");

Viernes, 582 F. Supp. 3d at 749 ("being subjected to an unlawful lawsuit bears a close relationship

to a harm traditionally recognized as providing a basis for a lawsuit in American courts," namely,

"the tort of 'wrongful use of civil proceedings'").26

        As the Viernes court explained, being sued over a debt "is a serious matter with potentially

serious negative consequences," including "the obvious monetary harms associated with a

litigation defense" and the "reputational harms incurred by having one's 'dirty laundry' aired in

public." 582 F. Supp. 3d at 752-53. Defendants do not deny that (as the Seventh Circuit put it)

"being portrayed as a deadbeat who does not pay her debts has real-world consequences," Ewing,

24 F.4th at 1154, and that those consequences include "stigma." See Pl. Bifulco Dep. Tr. at 134:1.

Instead, they argue that plaintiffs cannot rely on the reputational harms associated with a wrongful

civil lawsuit and resulting default judgment, for standing purposes, because that theory of harm is

foreclosed by Maddox II. Def. R. 12(b)(1) Supp. Br. at 5-6. In that case, however, the "misleading

record" was both significantly less damaging and significantly less public than the lawsuits and

defaults judgments at issue here.

        The Maddoxes were never accused of being deadbeats, much less so adjudicated. Instead,

by failing to file the mortgage satisfaction promptly after the Maddoxes sold their house, the

defendant bank created the impression (to anyone researching the property at the county clerk's


26
  In Viernes, the "unlawful lawsuit" was brought by DNF to collect a debt that plaintiff concededly
owed, but that "DNF had no legal authority to collect" because it failed to register as a debt
collector under Hawaii law. 582 F. Supp. 3d at 743-44. The court certified (and then denied a post-
TransUnion motion to decertify) a class consisting of all "Hawaii residents subjected to debt-
collection lawsuits filed by DNF within a year preceding the filing of the Complaint." Id. at 745.


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office) that they still had a mortgage; that is, that they still "owe[d] a debt secured by [the]

property." Maddox II, 19 F.4th at 65. While this could have "adversely affected their credit," id.,

in the event they sought a new loan during the period of delayed recordation, it was not inherently

stigmatizing; that is, it did not announce to the world that they were either unable or unwilling to

honor their financial obligations. A debt collection lawsuit and resulting judgment, by contrast,

carries precisely that message. Moreover, state court complaints and judgments are effectively in

"open view," easily accessible to the public (including online), and protected by none of the

restrictions applicable to credit reports. See 15 U.S.C. § 1681b (credit reports may only be

furnished for enumerated "[p]ermissible purposes"); id. § 1681g(a)(3)(A) (consumer reporting

agencies must provide the consumer, on request, with the identity of "each person" who "procured"

the consumer's credit report). Consequently, this case is less like Maddox II and more like a post-

Maddox II case, Panebianco v. Selip & Stylianou, LLP, 2022 WL 392229 (E.D.N.Y. Feb. 9, 2022),

in which the plaintiff alleged that the defendant served him with a debt collection summons and

complaint by "posting it to plaintiff's apartment door without enclosing [it in] an envelope or

otherwise concealing it," thus leaving it in "open view of other residents." Id. at *1. On these facts,

the court held that the plaintiff demonstrated the necessary "concrete injury" to establish

constitutional standing. Id. at *2. So too here.

       Defendants next argue that wage garnishment, while indisputably "concrete" and

unquestionably "traceable" to the misconduct alleged in CCAC §§ 274(a)-(b) and 280(a)-(b), is

not "redressable" in this Court because, "in order to find the garnishments are 'actual damages'

incurred by Plaintiffs, this Court would have to find the state-court judgments are invalid, which

Rooker-Feldman clearly prohibits." Def. Damages Supp. Opp. at 4. Defendants' reliance on

Rooker-Feldman is misplaced. First, the question whether Rooker-Feldman bars plaintiffs from




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relying on the garnishments for standing has already been decided by the District Judge. Michelo,

419 F. Supp. 3d at 686-88 ("The Court concludes that the Rooker-Feldman doctrine presents no

obstacle to the claims of the Seaman Plaintiffs and the Bifulco Plaintiffs."); id. at 709 ("Wage

garnishment is a pecuniary harm that satisfies the actual injury requirement."). While TransUnion

required the lower federal courts to rethink the "concrete-harm requirement" of standing, see 141

S. Ct. at 2204 ("The question in this case focuses on the Article III requirement that the plaintiff's

injury in fact be 'concrete'[.]") (quoting Spokeo, 578 U. S. at 340), it did not alter the

"redressability" analysis, and said nothing at all about Rooker-Feldman. Consequently, there is no

reason to reconsider Judge Gardephe's Rooker-Feldman analysis, which is the law of the case.

       Second, that analysis remains sound. Under Rooker-Feldman,27 federal district courts "lack

jurisdiction over suits that are, in substance, appeals from state-court judgments." Hoblock v.

Albany Cty. Bd. of Elections, 422 F.3d 77, 84 (2d Cir. 2005). There are "four requirements for the

application of Rooker-Feldman," including that "the plaintiff must 'invit[e] district court review

and rejection" of a state court judgment. Id. at 85 (quoting Exxon Mobil Corp. v. Saudi Basic Indus.

Corp., 544 U.S. 280, 284 (2005)). Plaintiffs here do not invite this Court to review or reject the

state court default judgments against them. See Pl. Damages Supp. Br. at 1-2 (confirming that

plaintiffs do not seek either to set aside the state court default judgments or for damages in the

amount of those judgments). Instead, like the plaintiffs in Sykes, they bring "claims sounding under

the FDCPA . . . and state law [that] speak not to the propriety of the state court judgments, but to

the fraudulent course of conduct that defendants pursued in obtaining such judgments." Michelo,




27
  See Rooker v. Fid. Tr.Co., 263 U.S. 413 (1923); D.C. Ct. of Appeals v. Feldman, 460 U.S. 462
(1983).


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419 F. Supp. 3d at 687 (quoting Sykes v. Mel S. Harris & Assocs. LLC, 780 F.3d 70, 94-95 (2d

Cir. 2015) (Sykes III)).

       In Sykes III, which arose from a large-scale "default judgment mill," the Second Circuit

expressly held (in the course of affirming the district court's certification of a damages class and

an injunctive-relief class) that Rooker-Feldman was not a bar to plaintiffs' FDCPA claims, even

though plaintiffs there sought "'remittance' damages," i.e., "the return of the money extracted from

them as a result of [the] fraudulent judgments." 780 F.3d at 75, 88, 95.28 See also Toohey, 2016

WL 4473016, at *4 (holding, in a similar "default judgment mill" case, that Rooker-Feldman did

not bar Toohey's FDCPA claims because he "does not seek to undo the state court judgment

through this federal action, but merely seeks damages based on Defendants' alleged independent

wrongful conduct"); Cameron, 998 F. Supp. 2d at 297 (Rooker-Feldman was "inapplicable" to

FDCPA case based on the wrongful filing of a time-barred collection action ending in a default

judgment, because "plaintiff[] assert[s] claims independent of the state-court judgment[] and

do[es] not seek to overturn [it].") (quoting Sykes I, 757 F. Supp. 2d at 429) (alteration in original).

Most recently, in Hansen v. Miller, 52 F.4th 96 (2d Cir. 2022), the Second Circuit confirmed that

Rooker-Feldman "generally does not affect a federal court's jurisdiction over claims for damages

against third parties for alleged misconduct occurring in the course of a state court proceeding,



28
   The Second Circuit did not determine whether Rooker-Feldman would bar the Sykes plaintiffs
from recovering those remittance damages. Instead, drawing a distinction between the injury
(which must be identified for standing purposes) and a specific form of redress for that injury
(which could run afoul of Rooker-Feldman, even if other forms of redress for the same injury do
not), the Sykes III court declined to exclude from the class certification order, a "category of
damages that [defendant] believes is not cognizable under Rooker-Feldman[.]" 780 F.3d at 95.
Similarly, Judge Gardephe did not hold in 2019 – and this Report and Recommendation does not
suggest – that the plaintiffs whose wages were garnished can recover the garnished funds as actual
damages. The only question now before the Court is whether those plaintiffs can point to that
garnishment to show that they were concretely injured by the conduct of which they complain.


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because the adjudication of such claims would 'not require the federal court to sit in review of the

state court judgment.'" Id. at 100 (quoting Vossbrinck v. Accredited Home Lenders, Inc., 773 F.3d

423, 427 (2d Cir. 2014)).

           Finally, defendants argue that plaintiff Tabar, who incurred concrete and tangible costs in

order to vacate the default judgment against her, nonetheless lacks standing because "costs to

vacate a default do not confer standing, much less suffice as actual damages." Def. Damages Supp.

Opp. at 3 n.1. That is not an accurate statement of the law applicable to unjustifiable litigation

torts.29

           Where, as here, the defendant's actionable misconduct included bringing an improper

lawsuit against the current plaintiff, that plaintiff's legal fees and related costs incurred in the prior

action can constitute both a concrete injury that confers standing and (in most jurisdictions) a

measure of the plaintiff's compensatory damages. Restatement (Second) of Torts § 681; see also,

e.g., Brickellbush, 218 F. Supp. 2d at 382; Benjamin, 2021 WL 3784320, at *6 (FDCPA plaintiff

who alleged misconduct in connection with a prior foreclosure action properly relied, for standing



29
   Neither of the out-of-Circuit cases cited by defendants on this point considered standing through
the lens of unjustifiable litigation torts. In Brunett v. Convergent Outsourcing, Inc., 982 F.3d 1067
(7th Cir. 2020), the plaintiff's argument was that she was injured by (i) a confusing dunning letter
that violated FDCPA, and (ii) her costs incurred in retaining a lawyer. Id. at 1068. The Seventh
Circuit held (i) that plaintiff's confusion did not give her standing to sue, and (ii) that her decision
to hire a lawyer did "not change the evaluation" of whether she could show a concrete injury. Id.
at 1069. In other words, consulting a lawyer cannot bootstrap a non-concrete injury into a concrete
one. Tabar, by contrast, incurred costs (not legal fees) to remedy a concrete injury, namely, the
entry of a default judgment against her. In Milisavljevic v. Midland Credit Mgmt., LLC, 581 F.
Supp. 3d 1020 (N.D. Ill. 2022), the district court relied on Brunett to rule that legal fees that
plaintiff incurred in challenging a default judgment did not give him standing to sue for the
allegedly misleading communications that caused him to default in the first place. Id. at 1026-28.
I note that other district courts within the same Circuit have reached the opposite result on similar
facts. See, e.g., Lako v. Portfolio Recovery Assocs., 2021 WL 3403632, at *4 (W.D. Wis. Aug. 4,
2021) ("the court concludes that the costs, time, and energy incurred by plaintiff in defending
against the [debt collection] suit brought against him amounts to a concrete injury in fact").


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purposes, on a number of tangible and intangible injuries, including "legal fees defending the

illegal foreclosure"); Amalfitano v. Rosenberg, 428 F. Supp. 2d 196, 198, 211 (S.D.N.Y. 2006)

(attorney who had "brought suit against plaintiffs despite knowing that it was entirely baseless"

was liable to plaintiffs in damages for their costs incurred "in defending themselves against an

action which was founded upon [a] deceitful premise"), aff'd, 572 F.3d 91 (2d Cir. 2009); Tri-State

Hosp. Supply Corp. v. United States, 341 F.3d 571, 577 (D.C. Cir. 2003) ("many states permit the

recovery of attorney's fees qua damages in malicious prosecution suits – and, to our knowledge,

not a single state forbids the practice"). Moreover, this Court has already held that the costs

incurred by Tabar in vacating the default judgment against her are compensable as damages for

purposes of her NYJL § 487 claim against Forster. Michelo, 419 F. Supp. 3d at 714 n.29. It would

be an odd result indeed if that same injury failed even to provide her with standing to sue the

remaining defendants.

       In short, while none of the plaintiffs has standing to sue with respect to the specific false

representations alleged in CCAC ¶¶ 274(c)-(g) and 280(c)-(g), and only Bifulco has standing to

sue with respect to the negative credit-reporting alleged in CCAC ¶¶ 274(h) and 280(h), each

named plaintiff – and, by definition, each member of the proposed classes – has been subjected to

a lawsuit that should never have been brought, in which a default judgment was entered. In

addition, some of the named plaintiffs (and, likely, many of the proposed class members) have had

their wages garnished and/or have spent time and money to vacate the default judgments against

them. Therefore, the named plaintiffs and the proposed class members have standing to sue with

respect to the sham lawsuit scheme alleged in CCAC ¶¶ 274(a)-(b) and 280(a)-(b).

       C.      The Court Should Certify One Rule 23(b)(3) Class

       In their class certification motion – as narrowed after oral argument – plaintiffs ask the

Court to certify four Rule 12(b)(3) classes, seeking damages, and four Rule 12(b)(2) classes,


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seeking injunctive relief. See Pl. R. 23 Supp. Br. at 5-6. Each class would be limited to persons

who, since 2012, have been (or, for Rule 23(b)(2) purposes, "will be") (i) sued in a New York

state-court debt-collection lawsuit in which (ii) one of the Trust Defendants was the plaintiff, (iii)

TSI-NCO was its servicing agent, and (iv) Forster appeared as the plaintiff's counsel. Id. The Rule

23(b)(3) classes would be further limited to persons against whom a default judgment was obtained

in state court. Id. at 5. The damages class would assert claims under FDCPA (against TSI-NCO

and Forster), GBL § 349 (against all defendants), and NYJL § 487 (against Forster). Id. at 5. The

Rule 23(b)(2) class would assert claims against all defendants under GBL § 349. Id. at 6.

       Plaintiffs explain that their narrowed class definitions track the definitions used in Sykes –

which, like this action, charged a debt collector and its counsel with running a "default judgment

mill." Sykes III, 780 F.3d at 75.30 Their argument, in a nutshell, is that this Court should follow

Sykes, except that instead of one damages class and one injunctive-relief class, it should certify

four damages classes and four injunctive-relief classes because "[t]his case involves four separate

Delaware statutory trusts, each corporately distinct, and holding its own set [of] alleged debt

accounts" as to which the "chain of title" documents may vary. Pl. R. 23 Supp. Br. at 1-2. In

response, defendants argue: (1) that no injunctive class should be certified, because an injunction

will not help those who have already been sued by defendants, while those who have yet to be

sued lack Article III standing, see Def. R. 23 Supp. Opp. at 2-4; (2) that there is no reason to


30
   In Sykes, Judge Chin (then sitting in the district court) certified two classes, and the Second
Circuit affirmed as to both. The Rule 23(b)(3) class comprised "all persons who have been sued
by the Mel Harris defendants as counsel for the Leucadia defendants in . . . New York City Civil
Court and where a default judgment has been obtained." Sykes III, 780 F.3d at 75 (alteration in
original). That class asserted claims under FDCPA, GBL § 349, NYJL § 487, and the Racketeer
Influenced and Corrupt Organizations Act (RICO), which is not at issue here. Id. The Rule 23(b)(2)
class comprised "all persons who have been or will be sued by the Mel Harris defendants as counsel
for the Leucadia defendants," and asserted claims under RICO, GBL § 349, and NYJL § 487. Id.




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subdivide any otherwise-certifiable class into "Trust-specific subclasses," which would serve no

purpose other than to multiply the potential statutory damages award, see id. at 4-6; and (3) that

this case is different from Sykes because it is weak on the merits, id. at 6-10, in that the evidence

adduced during discovery shows that the Trust Defendants properly "brought lawsuits based on

loans that they believe that they own" and "submitted evidence which they were advised was

sufficient at the outset of a litigation to demonstrate their ownership." Id. at 8.

        Defendants are correct that no Rule 23(b)(2) class should be certified in this action, and

that there is no need to certify separate Rule 23(b)(3) classes on a trust-by-trust basis. Plaintiffs

are, however, entitled to certification of a single, statewide damages class.

                1.      Rule 23(a)

                        a)      Numerosity

        The first Rule 23(a) requirement is "numerosity." The class must be "so numerous that

joinder of all members is impracticable." Fed. R. Civ. P. 23(a)(1). In the Second Circuit, "the

numerosity requirement is presumed once plaintiffs number 40." Taylor v. Zucker, 2015 WL

4560739, at *7 (S.D.N.Y. July 27, 2015). "Precise quantification" is not necessary; rather, the

Court can "make common sense assumptions regarding numerosity." In re Vivendi Universal, S.A.,

242 F.R.D. 76, 83 (S.D.N.Y. 2007), aff'd sub nom. In re Vivendi, S.A. Sec. Litig., 838 F.3d 223 (2d

Cir. 2016).

        During discovery, defendants identified "3,914 accounts subject to state-court suits in New

York where one of the four Trust Defendants was named plaintiff." Hawkins R. 23 Decl. ¶ 37.

Many of the suits were brought against two individuals: a "primary borrower" and a "co-borrower."

Id. Thus, in their original motion papers, plaintiffs estimated that the "New York Class" consisted

of roughly 6,365 members. Id. ¶ 38. In approximately 50% of the state-court suits, a default

judgment was entered. Id. ¶ 40. Thus, even as narrowed (for Rule 23(b)(3) purposes) to those who


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had default judgments entered against them, the proposed class consists of roughly 3,183 members

(50% of 6,365). Numerosity has been adequately established.

                       b)      Commonality

       The parties seeking class certification must also show that there are "questions of law or

fact common to the class." Fed. R. Civ. P. 23(a)(2). Members of the class must have claims that

"depend upon a common contention" that "is capable of classwide resolution," meaning that

"determination of its truth or falsity will resolve an issue that is central to the validity of each one

of the claims in one stroke." Wal-Mart Stores, 564 U.S. at 350.

       "Importantly, Rule 23(a)(2) does not require that the claims of the lead plaintiffs 'be

identical to those of all other plaintiffs.'" Sykes II, 285 F.R.D. at 286-87 (quoting Lapin v. Goldman

Sachs & Co., 254 F.R.D. 168, 176 (S.D.N.Y. 2008)). Moreover, "factual differences in the claims

of the class do not preclude a finding of commonality," Id. at 287 (quoting Newman v. RCN

Telecom Servs., Inc., 238 F.R.D. 57, 73 (S.D.N.Y. 2006)), so long as "the plaintiffs' alleged injuries

'derive from a unitary course of conduct by a single system.'" Id. (quoting Marisol A. v. Giuliani,

126 F.3d 372, 377 (2d Cir. 1997)). Thus, in Sykes, Judge Chin found the requisite commonality

despite the fact that the alleged scheme had more than one component:

       [Plaintiffs'] overarching claim is that defendants systematically filed false affidavits
       of merit and, in many instances, false affidavits of service to fraudulently procure
       default judgments in New York City Civil Court. Whether a false affidavit of merit
       or a false affidavit of service or both were employed in a particular instance, the
       fact remains that plaintiffs' injuries derive from defendants' alleged 'unitary course
       of conduct,' see Marisol A., 126 F.3d at 377, that is, fraudulently procuring default
       judgments.

Sykes II, 285 F.R.D. at 290. The Second Circuit agreed, noting that "the common injury in this

case, which was the same for all plaintiffs, is a fraudulently procured default judgment." Sykes III,

780 F.3d at 84.




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        Similarly, in this case, all members of the proposed classes were named in sham lawsuits,

which were filed and litigated in accordance with a unified playbook authored (literally) by NCI-

TCO and carried out by its Affiants and by Forster. Additionally, all of the members of the

proposed Rule 23(b)(3) class were injured by the resulting, wrongfully-procured default

judgments. Although the alleged scheme had several interrelated components – including

boilerplate complaints, never meaningfully reviewed by the attorneys who signed them, that

falsely alleged that the Trust Defendant named as plaintiff was the "original creditor" on the loan

and was "authorized to proceed" in state court, and deceptive affidavits, signed by Affiants who

routinely attested to "personal knowledge" of chain-of-title documents they had not actually

reviewed – plaintiffs have shown that defendants engaged in a "unitary course of conduct" leading

to the injuries alleged.31

        In short, because plaintiffs are "challenging a practice of defendants," not merely

defendants' "conduct with respect to the individual plaintiff[s]," the commonality requirement is

met. Ray M v. Bd. of Educ., 884 F. Supp. 696, 699 (E.D.N.Y. 1995); see also, e.g., Westchester

Indep. Living Ctr., Inc. v. State Univ. of New York, Purchase Coll., 331 F.R.D. 279, 293 (S.D.N.Y.

2019) (commonality met where class of people with mobility limitations sought to challenge a

long list of alleged architectural barriers on the SUNY Purchase campus, because "the core issue

presented is whether Defendants engaged in a general course of conduct of not providing



31
   Defendants argued in opposition to plaintiff's original Rule 23 motion that virtually every fact
question raised by plaintiffs (including questions concerning conduct mandated by TSI-NCO's
policies) would require "[i]ndividualized inquiry." See Def. R. 23 Opp. at 26. However, they take
a different approach in their post-argument brief, which argues that there is no need for four
separate subclasses because "the issue – the alleged inability to prove ownership [of the debt]
created by the alleged lack of documentation and how it was dealt with by [TSI-NCO] and Forster
– is the same in each instance for each Trust and manifests itself through the same entities." Def.
R. 23 Supp. Opp. at 5 (emphasis added).


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accessible paths of travel throughout the Campus, thereby denying people with mobility

disabilities meaningful access" and "[t]he answer to this question will resolve all of the class

claims."); Brooklyn Ctr. for Indep. of the Disabled v. Bloomberg, 290 F.R.D. 409, 419 (S.D.N.Y.

2012) (commonality met even though New York City's emergency preparedness plan was flawed

in four different ways, with no one flaw affecting all class members, because the alleged failure of

the City-wide policy "to take into account the needs of disabled citizens" was "common to the

proposed class," which "challenges 'acts and omission of the [City] that are not specific to any

particular Plaintiff'") (citation omitted); Finch v. N.Y. State Office of Child. & Fam. Servs., 252

F.R.D. 192, 201 (S.D.N.Y. 2008) (commonality met because "any variation in the reasons for each

person's [harm] does not negate the common questions of fact and law surrounding [defendant's

injurious] policies).

        Here too, plaintiffs have demonstrated a "unitary course of conduct," Sykes III, 780 F.3d at

84, applicable to all class members, which presents common questions of fact, subject to common

proof, which will generate common answers and are thus "capable of classwide resolution." Wal-

Mart Stores, 564 U.S. at 350. For example, the question whether the Trust Defendants serving as

the plaintiffs in state court were the "original owners" of the debt sued upon has been conceded,

on a classwide basis. See Luke Decl. ¶ 5 (the student loans held by the Trust Defendants were

"purchased subsequent to the loan's origination"). Similarly, the question whether the Trust

Defendants were "authorized to proceed" with the litigation turns on the undisputed fact that none

of them ever registered to do business in New York, see Hawkins R. 23 Decl. ¶ 4, which according

to plaintiffs means they were not in fact "authorized to proceed." CCAC ¶ 11; see also Viernes,

582 F. Supp. 3d at 744 (defendant violated FDCPA by seeking to collect debts that it "had no legal

authority to collect" because it had not registered as a debt-collector in Hawaii).




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       Whether the TSI-NCO Affiants routinely signed affidavits attesting to personal knowledge

that they did not actually have, concerning chain-of-title documents (and other proof of

indebtedness) that they had not actually seen, can be also be resolved by means of classwide proof,

including TSI-NCO's "training programs and standard operating procedures," known as the

"Procedure," see Luke Decl. ¶ 23 & Ex. 1-K (NCO "Affidavit Verification Procedure" handbook),

and the testimony of the Affiants concerning the procedures to which they were required to adhere.

See Hawkins R. 23 Decl. ¶¶ 22-27; Hawkins R. 23 Reply Decl. ¶ 35 & Exs. K, H, M. Similarly,

whether the Forster attorneys routinely signed pleadings without meaningful review can also be

shown through common proof, including – for example – TSI-NCO's "Standard Operating

Procedure" manual (SOP), which instructed its attorneys, including Forster, not to request copies

of "bill of sale/assignment" documents or "chain of title" documents when litigating on behalf of

the Trust Defendants. Hawkins R. 23 Decl. ¶ 11 & Ex. E, at ECF p. 4. Finally, the question whether

defendants possessed admissible chain-of-title evidence – and therefore were capable of proving

to a state court that they owned the loans on which they sued – will necessarily be resolved based

on the bulk assignment documents to which defendants now point as adequate for this purpose.32



32
   According to Bradley Luke, TSI's Director of Operations, the loans at issue were all originally
assigned, by the banks that made them, to National Collegiate Funding, Inc. (NCF), by means of
a series of nearly identical Pool Supplements (one from each originating bank), which NCO
received on various dates in 2012 from First Marblehead Corporation (FMC), the company that
arranged the securitization. Luke Decl. ¶¶ 5, 14(a) & Ex. 1-A. Each Pool Supplement, in turn,
recites that the loans being assigned to NCF (which later assigned them to one of the Trust
Defendants) are listed on an attached Schedule, but no such Schedule is attached to any of the Pool
Supplements in TSI-NCO's possession. See id. Ex. 1-A. Luke attests that the Schedules exist in
"digital Excel file format," id. ¶ 14(c)-(e), and that these files were received from FMC on
November 14, 2012, "separately" from the Pool Supplements. Id. ¶ 14(a), (c). Plaintiffs counter
that the Pool Supplements and (unattached) Excel files are not adequate to establish ownership of
the loans listed in the Excel files, arguing (among other things) that defendants have lost or
misplaced the "loan roster CD" containing the Schedules as transmitted by FMC; that the Excel
files contain a variety of apparent errors; and that their metadata does not match the dates on which



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        Plaintiffs are correct that these issues are similar to the common issues in Sykes, where

defendants allegedly obtained thousands of default judgments by submitting affidavits of merit in

which defendant Fabacher falsely attested that he was "'personally familiar with, and [has] personal

knowledge of, the facts and proceedings relating to' the default judgment action," when in fact

"Fabacher has not reviewed, nor do defendants actually possess, documents relevant to the

underlying debt." Sykes III, 780 F.3d at 85. At the Rule 23 stage, the Second Circuit agreed with

Judge Chin that "a fraudulently obtained state court judgment that depended on the filing of a false

affidavit of merit could serve as a common issue satisfying Rule 23(a)" and that this issue could

be resolved on a classwide basis. Id. at 85, 88.

        Defendants argue that this case is different from Sykes because "the Trusts can prove they

own the loans they hold," and can also prove that "each affidavit was independently reviewed,

verified and signed consistent with TSI policy." Def. R. 23 Supp. Opp. at 6. Plaintiffs, of course,

disagree. But this debate largely misses the point. At the class certification stage, the question is

not whether plaintiffs or defendants will prevail on the merits; it is whether the prevailing party

will be able to do so on a classwide basis, in reliance on common evidence. Wal-Mart Stores, 564

U.S. at 350; see also Amgen Inc. v. Conn. Ret. Plans & Tr. Funds, 568 U.S. 455, 468 (2013) ("Rule

23 grants courts no license to engage in free-ranging merits inquiries at the certification stage.").

        Here, the key questions are well-suited to classwide resolution. For example, the Pool

Supplements and Schedules are either sufficient or insufficient to establish the necessary chain of

title for all of the loans on the Schedules (that is, the Excel files), not just for one or two. Similarly,

TSI-NCO's standardized policies, most of them memorialized in its written training and




they were supposed to have been created. Hawkins R. 23 Reply Decl. ¶¶ 6-34; Hawkins R. 23
Supp. Decl. ¶¶ 13-28.


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instructional materials, are either roadmaps for deception (in plaintiffs' and, apparently, the CFPB's

view) or models of responsible collections litigation (in defendants' view).

       I am aware that a district court in Washington recently came to a different conclusion in a

similar case. In Hoffman v. Transworld Sys. Inc., 2023 WL 421113 (W.D. Wash. Jan. 26, 2023),

the district court denied plaintiffs' class certification motion on commonality grounds, reasoning

that "[i]ndividual inquiry" would be required "to determine whether TSI or the [trusts] can present

sufficient documentation to support ownership of each class member's loan," and that "[s]uch an

inquiry will likely require review of the origination records for class members' loans and other

documents supporting the chain of assignment, and must be completed for every loan at issue in

this action on an individual basis." Id. at *8. On the record in this case, I cannot agree. Plaintiffs

here do not claim that individual "origination records" (that is, the original loan documents signed

by each borrower) are missing or inadequate. Nor, in this case, is there any reason to believe that

there are any contested "documents supporting the chain of assignment" – apart from the Pool

Supplements and Schedules upon which both sides rely. Because those documents reflect bulk

transfers, they will either support or undermine plaintiffs' claim in bulk.

       The Hoffman court also concluded that "whether the affidavits and declarations of TSI

employees are false, deceptive, and/or misleading [will] require[] inquiry concerning the

individual affiants," because plaintiffs will not be able to "show by a preponderance of the evidence

that the documents Defendants used in every debt collection action suffered from the same alleged

deficiencies (i.e., that all TSI affiants lacked the training or knowledge necessary to execute

accurate affidavits)." 2023 WL 421113, at *8. In the case at bar, however, the claim is not that

some of the Affiants lacked the requisite training or knowledge to produce accurate affidavits.

Quite the contrary: the claim is that TSI-NCO's training and instructions prevented the Affiants




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from reviewing the records required to make their affidavits accurate. See, e.g., Pl. R. 23 Supp. Br.

at 2 ("For each of the Trust Defendants, TSI-NCO's uniform written policies prohibited the Trust's

Attorneys (including Forster) and Affiants (employed by TSI-NCO) from requesting and/or

reviewing proof of the debt alleged in each suit."). Because the claimed deficiencies are a feature,

not a bug, if plaintiffs prevail on this theory, they will prevail on a classwide basis. I therefore

conclude that, as in Sykes, the proposed classes satisfy the commonality requirement.

                       c)      Typicality

       Rule 23(a)(3) requires that the class representatives have claims typical of those shared by

class members. This requirement is satisfied "when each class member's claim arises from the

same course of events and each class member makes similar legal arguments to prove the

defendant's liability . . . irrespective of minor variations in the fact patterns underlying the

individual claims." Reynolds v. Giuliani, 118 F. Supp. 2d 352, 389 (S.D.N.Y. 2001) (quoting

Robidoux v. Celani, 987 F.2d 931, 936-37 (2d Cir. 1993)). Thus, the typicality requirement tends

to "merge" with the commonality requirement, "and similar considerations guide both analyses."

Mayhew v. KAS Direct, LLC, 2018 WL 3122059, at *5 (S.D.N.Y. June 26, 2018).

       "Where, as here, the alleged injuries derive from a unitary course of conduct by a single

system, typicality is generally found." Brooklyn Ctr. for Indep., 290 F.R.D. at 419 (internal

citations and quotation marks omitted). Given the discussion of commonality above, I conclude

that typicality has also adequately been established.

                       d)      Adequacy

       Before a class may be certified, the representative parties must show that they "will fairly

and adequately protect the interests of the class." Fed. R. Civ. P. 23(a)(4). The rule is satisfied

where class counsel is "qualified, experienced and generally able to conduct litigation," In re

Drexel Burnham Lambert Grp., Inc., 960 F.2d 285, 291 (2d Cir. 1992), and where "there is no


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conflict of interest between the named plaintiffs and other members of the plaintiff class."

Marisol A., 126 F.3d at 378. Even if a conflict is revealed, it does not "necessarily defeat class

certification – the conflict must be 'fundamental.'" Denney, 443 F.3d at 268 (quoting In re Visa

Check/MasterMoney Antitrust Litig., 280 F.3d 124, 145 (2d Cir. 2001)).

       Defendants argue that there are conflicts of interest among the named plaintiffs, following

Judge Gardephe's Rule 12(b)(6) decision, because some of them have "live" individual claims

under both FDCPA and GBL § 349, while others do not. Def. R. 23 Opp. at 17-18. They further

argue that the named plaintiffs are "subject to unique defenses – namely, that they did indeed owe

the amounts claimed in their collection actions." Id. at 19. Neither argument has merit.

       As shown in Part II.B.6, supra, all of the named plaintiffs have standing – and thus have

"live" claims – with respect to the sham lawsuit scheme alleged in CCAC ¶¶ 274(a)-(b) and 280(a)-

(b). These claims are also suitable for litigation on a class basis, as they can be pursued against the

Trust Defendants under GBL § 349; against TSI-NCO under FDCPA and GBL § 349; and against

Forster under FDCPA, GBL § 349, and NYJL § 487. See Pl. R. 23 Supp. Br. at 5. Moreover, as

plaintiffs point out, all putative class members would qualify for statutory damages under FDCPA

and GBL § 349. Pl. Damages Supp. Br. at 2 n.4.33

       Further, it is by now well-settled that liability under FDCPA can be established

"irrespective of whether the presumed debtor owes the debt in question." Sykes III, 780 F.3d at 83

(quoting Sykes II, 285 F.R.D. at 292); accord Villalba v. Houslanger & Assocs., PLLC, 2022 WL


33
  As discussed in Part II.B.5, supra, only one plaintiff – Bifulco – has a "live" claim with respect
to defendants' negative credit-reporting, as to which she could, in theory, seek damages not
available to the other named plaintiffs or the class. I do not view that as a disabling conflict,
because it does not render Bifulco's interests "antagonistic" to those of other plaintiffs. See In re
Patriot Nat'l, Inc. Sec. Litig., 828 F. App'x 760, 764-65 (2d Cir. 2020) (summary order) (lead
plaintiffs were not inadequate by reason of the fact that they held claims under the Exchange Act
and Delaware law, whereas many class members had Exchange Act claims only).


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900538, at *4 (E.D.N.Y. Mar. 28, 2022). Thus, defendants' contention that some of the named

plaintiffs "owed the debts," Def. R. 23 Opp. at 19 – and indeed acknowledged them when they

filed for personal bankruptcy, id. at 21-23 – does not give rise to a defense, much less a unique

defense, to their FDCPA claims.

       Defendants do not raise, and the Court has not identified, any basis upon which to question

the qualification and experience of plaintiffs' counsel. Rule 23(a)(4) is therefore satisfied.

                       e)      Ascertainability

       Plaintiffs' class discovery, based on a sampling of 5% of the putative class members sued

in New York, shows that plaintiffs can easily identify which individuals fall within the proposed

Rule 12(b)(3) class definitions, i.e., which persons have been sued by defendants in a New York

State court and have had default judgments entered against them in those suits. See Hawkins R. 23

Decl. ¶¶ 38-39; see also Sykes II, 285 F.R.D. at 292-93. Consequently, ascertainability is not a

barrier to certification of the proposed classes here.

               2.      Rule 23(b)(3)

       Rule 23(b) "imposes two additional burdens on plaintiffs attempting to proceed by class

action, namely, predominance and superiority." Sykes III, 780 F.3d at 81.

                       a)       Common Issues of Fact and Law Predominate

       The predominance requirement under Rule 23(b)(3) is "more demanding" than the

commonality requirement under Rule 23(a)(2). Sykes III, 780 F.3d at 81. However, the rule "does

not require a plaintiff seeking class certification to prove that each elemen[t] of [her] claim [is]

susceptible to classwide proof." Amgen, 568 U.S. at 469 (citations omitted) (alteration in original).

All that is required is that a class plaintiff show that "common questions 'predominate.'" Id.

(quoting Fed. R. Civ. P. 23(b)(3)). As the Second Circuit explained in Sykes III, "[i]ndividual

questions need not be absent. The text of Rule 23(b)(3) itself contemplates that such individual


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questions will be present. The rule requires only that those questions not predominate over the

common questions affecting the class as a whole." 780 F.3d at 81 (quoting Messner v. Northshore

Uni. HealthSystem, 669 F.3d 802, 815 (7th Cir. 2012)). Thus, for example, the fact that an

affirmative defense may arise that affects different class members differently "does not compel a

finding that individual issues predominate over common ones." In re Nassau Cnty. Strip Search

Cases, 461 F.3d at 225 (citation and internal quotation marks omitted). The same is true with

respect to damages. Sykes III, 780 F.3d at 81.

       In this case, Rule 23(b)(3)'s predominance requirement is met because the key issues –

indeed, virtually all of the liability issues – are susceptible of generalized proof applicable to all

putative class members, and there is little chance "that individual issues will overwhelm the

common questions." In re NASDAQ Market-Makers Antitr. Litig., 169 F.R.D. 493, 517 (S.D.N.Y.

1996). Nor are plaintiffs required to propose, prior to certification, "a common method for

determining . . . to what degree any individual Plaintiff or putative class member was damaged by

the alleged misconduct." Def. R. 23 Opp. at 28. In a consumer debt case, where statutory damages

are available under both federal and state law, see 15 U.S.C. § 1692k(a)(2)(A)-(B); GBL § 349(h),

"[a]ll that is required at class certification is that the plaintiffs must be able to show that their

damages stemmed from the defendant's actions that created the legal liability." Sykes III, 780 F.3d

at 88 (internal quotation marks and citation omitted).34



34
   In their post-argument damages brief, plaintiffs also assert the right to seek classwide actual
damages under FDCPA, GBL § 349, and NYJL § 487 for the money garnished from plaintiffs'
wages after default; the costs incurred by plaintiffs "in responding to state court actions," and costs
incurred to seek resolution of (i.e., settle) such actions. Pl. Damages Supp. Br. at 1. As plaintiffs
point out, the amount of money garnished from each plaintiff's paychecks can be ascertained from
defendants' records. Id. at 3 (citing Sykes III, 780 F.3d at 76.) This is presumably also true for the
money recovered through settlements after default (if there were any). Moreover, while the second
category (defense costs) would likely require individualized determinations, defendants have



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       Relying on Third Circuit authority, defendants argue that the issue of equitable tolling

(which plaintiffs will necessarily rely upon to overcome what would otherwise be a limitations bar

for many class members) will require thousands of mini-trials. Def. R. 23 Opp. at 34-35 (citing In

re Cmty. Bank of N. Virginia, 622 F.3d 275, 294 (3d Cir.), as amended (Oct. 20, 2010)). In the

quoted portion of Cmty. Bank of N. Virginia, however, the court merely noted that defendants "may

. . . challenge the predominance requirement in light of the 'presence of idiosyncratic statute-of-

limitations issues' among the laws of various states in a nationwide class action." 622 F.3d at 294.

This is not a nationwide class action, and there is no reason to believe that equitable tolling issues

cannot be resolved efficiently in a class format.

                       b)      A Class Action Is Superior to All Other Methods of Resolution

       Reprising their commonality and predominance arguments, defendants contend that a class

action is not a superior method for adjudicating plaintiffs' damages claims because:

       each Plaintiff would need to demonstrate that Defendants did not possess and/or
       review sufficient documentation of their debt before initiating collection actions
       against them, and that any misrepresentations regarding possession or review of
       loan documentation caused Plaintiffs to suffer some injury, and finally the nature
       and amount of any such injury. The court would have to conduct a mini-trial for
       each Plaintiff and class member.

Def. R. 23 Opp. at 33. As shown above, defendants' claimed fears are groundless.

       Defendants' "public policy" argument (that plaintiffs "should be encouraged to raise [their

complaints] in their individual collection actions," Def. R. 23 Opp. at 34) falls flat as well. A

strikingly similar argument was rejected in Sykes III, where defendants urged the court to deny

class certification so as to encourage the debtors to return to New York Civil Court to adjudicate,




presented no information as to the number of putative class members who sought vacatur of the
default judgments against them, and have made no showing that calculating the actual damages
incurred by these individuals would "predominate" over the common issues.


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on an individual basis, the adequacy of the certificates of merit filed in their collection cases. 780

F.3d at 92. The court made short work of that contention, noting that it amounted to nothing more

than a "preference that their alleged widespread fraudulent behavior be dealt with in a piecemeal

fashion." Id. So too here.

       In this case, as in Sykes, a class action "is, without question, more efficient than requiring

thousands of debtors to sue individually," whether in state or in federal court. Sykes II, 285 F.R.D.

at 294 (confirming superiority of class resolution where defendants filed state-court collection suits

en masse via fraudulent allegations of debts owed). Certifying a class is also consistent with the

remedial purpose of FDCPA, which requires the courts to construe its terms "in liberal fashion if

the underlying Congressional purpose is to be effectuated." Hart v. FCI Lender Servs., Inc., 797

F.3d 219, 225 (2d Cir. 2015) (quoting Vincent v. The Money Store, 736 F.3d 88, 98 (2d Cir. 2013)).

If, as defendants contend, they "can show they unequivocally had the proper documentation in

their possession" when they defaulted the class members, Def. R. 23 Opp. at 34, they can – and no

doubt will – make that showing on a classwide basis in this Court. Accordingly, I conclude that

the superiority requirement has been met.

                       c)      There is No Need for Trust-Specific Classes or Subclasses

        Defendants are correct, however, that plaintiffs' request that the Court certify four Rule

23(b)(3) classes, on a per-Trust basis, appears to be motivated simply by plaintiffs' desire to

circumvent the $500,000-per-class statutory damages cap under FDCPA. See 15 U.S.C.

§ 1692k(a)(2)(B); Def. R. 23 Supp. Opp. at 2, 5.35


35
  Plaintiffs do not assert any FDCPA claims against the Trust Defendants, presumably because
they are not "debt collectors" as that term is defined in 15 U.S.C. § 1692a(6). However, splitting
their Rule 23(b)(3) class into four classes would let them seek up to $500,000 per class under
FDCPA from the remaining defendants, TSI-NCO and Forster. Statutory damages under the GBL
are limited to $50 per plaintiff, or "an amount not to exceed three times the actual damages up to



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       As a matter of logic, it cannot be the case that common questions of fact and law

predominate here to the degree required to justify class certification – except that "each Trust is its

own legal entity, with its own distinct facts," Pl. R. 23 Supp. Br. at 9, necessitating the

multiplication of classes. Plaintiffs have shown (and defendants have largely conceded) that TSI-

NCO litigated on behalf of all four Trust Defendants in exactly the same way, using the same

Affiants, the same outside counsel, and the same training and instruction materials (the Procedure

and the SOP) across New York State. Indeed, it is that uniformity of conduct that permits plaintiff

to meet the commonality and superiority prongs of the test. Moreover, plaintiffs do not point to

any actual variation in the alleged scheme, or the evidence needed to prove it, between one Trust

Defendant and another.

       It is true that each class member can recover damages against only one Trust Defendant –

the one that sued that member. But it is sufficient, for certification purposes, that "for every named

defendant there . . . be at least one named plaintiff who can assert a claim directly against that

defendant[.]" NECA-IBEW Health & Welfare Fund v. Goldman Sachs & Co., 693 F.3d 145, 159

(2d Cir. 2012). Beyond that, the necessary computations (to ensure that each plaintiff's damage

award is assessed against the correct Trust Defendant) can easily be performed within the confines

of a single class. Thus, while plaintiffs are entitled to certification under Rule 23(b)(3), they are

only entitled to certification of one such class, comprised of:

       All persons who have been sued in New York State court debt collection lawsuits
       where the plaintiff was one of the Trust Defendants, with TSI-NCO acting as
       servicing agent and Forster as plaintiff's counsel, and where a default judgment was
       obtained, from November 1, 2012 through February 27, 2018.




one thousand dollars, if the court finds the defendant willfully or knowingly violated this section,"
plus attorneys' fees. GBL § 349(h). There is no separate class action cap under the GBL.


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From this class should be excluded any individual who (i) appeared and litigated in state court

after entry of the default judgment, (ii) succeeded in setting aside the default, but (iii) thereafter

had judgment entered against him or her after dispositive motion practice or trial.

               3.      Rule 23(b)(2)

       A Rule 23(b)(2) class may be certified if "the party opposing the class has acted or refused

to act on grounds that apply generally to the class, so that final injunctive relief or corresponding

declaratory relief is appropriate respecting the class as a whole." Fed. R. Civ. P. 23(b)(2). Thus,

the plaintiff must show that the conduct sought to be enjoined applies "generally to the class," such

that it "can be enjoined or declared unlawful only as to all of the class members or as to none of

them." Sykes II, 285 F.R.D. at 289. Additionally, as with any class, a Rule 23(b)(2) class cannot

be certified unless the named plaintiffs have standing to assert the underlying claims for injunctive

relief, and the class is defined in such a way that all members similarly having standing. Denney,

443 F.3d at 263-64.

       A plaintiff must "demonstrate standing separately for each form of relief sought."

TransUnion, 41 S. Ct. at 2210 (quoting Friends of the Earth, Inc. v. Laidlaw Env't Servs. (TOC),

Inc., 528 U.S. 167, 185 (2000). "Although past injuries may provide a basis for standing to seek

money damages, they do not confer standing to seek injunctive relief unless the plaintiff can

demonstrate that she is likely to be harmed again in the future in a similar way." Nicosia v.

Amazon.com, Inc., 834 F.3d 220, 239 (2d Cir. 2016). In TransUnion, the Supreme Court confirmed

that a risk of future harm may provide a plaintiff with standing to seek "forward-looking, injunctive

relief," but the risk must be both "imminent and substantial." 141 S. Ct. at 2210. If it is not, the

district courts do not hesitate to dismiss injunctive relief claims (or refuse to certify them under

Rule 23) for lack of standing. See, e.g., Nicosia, 834 F.3d at 239 (plaintiff who purchased a diet

product containing a banned substance through Amazon.com lacked constitutional standing to sue


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for injunctive relief because "Amazon has ceased selling 1 Day Diet on its website, and Nicosia

has failed to allege that he intends to use Amazon in the future to buy any products"); Aponte v.

Ne. Radiology, P.C., 2022 WL 1556043, at *5 (S.D.N.Y. May 16, 2022) (dismissing data-breach

claim because "plaintiffs do not allege that they have suffered, or will imminently suffer, an injury-

in-fact"), appeal dismissed, No. 22-1284, 2022 WL 4125739 (2d Cir. Aug. 9, 2022).

       In this case, plaintiffs' efforts to certify a Rule 23(b)(2) class founder on the issue of

standing. The proposed class seeks relief only pursuant to GBL § 349, and only with respect to

defendants' negative credit-reporting. Plaintiffs describe the relief they seek as follows:

       [A]n injunction must be entered to stop the ongoing harms caused by Defendants'
       reporting Class members' alleged debts to credit bureaus without possession or
       review of proof thereof. Defendants have computer systems that constantly
       interface with corresponding systems at the major credit bureaus (Equifax,
       Experian, and Trans Union). Since Defendants' policy is to credit-report each
       alleged debt contemporaneously with suing over it in state court, the equitable-
       relief Class is as ascertainable as the Rule 23(b)(3) one. . . .

       To ensure replete equitable relief here, in addition to instructing credit reports be
       updated, Defendants also must instruct the credit bureaus and Fair Isaac Corp.
       ("FICO") to remove the alleged debts as data points visible to the proprietary
       algorithms they use to generate credit scores.

Pl. R. 23 Br. at 24 (record citations omitted). See also Pl. R. 12(b)(1) Opp. at 13 ("Plaintiffs demand

that Defendants be enjoined to contact the bureaus and FICO to ensure Plaintiffs' credit scores are

recalculated such that the impact of Defendants' wrongful reporting is negated."). It thus appears

that plaintiffs seek both a prohibitory injunction (preventing defendants from credit-reporting debts

"without possession or review of proof thereof") and a mandatory injunction (requiring defendants

to "instruct" the credit bureaus and FICO to remove the tradelines relating to the student loan debts




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they attempted to collect), both targeted narrowly to the harm allegedly caused by defendants'

negative credit-reporting.36

          As discussed in Part II.B.5, supra, only one of the named plaintiffs – Bifulco – has standing

to seek damages related to defendants' negative credit-reporting. Even Bifulco, however, lacks

standing to seek prospective relief on her credit-reporting claim, because the risk of future harm

from this species of misconduct is neither imminent nor substantial. The default judgment against

her was issued on March 25, 2014, and the associated lien was recorded on September 15, 2015.

CCAC ¶¶ 188-89; Luke Decl. ¶ 45. TSI-NCO last credit-reported her account on February 8, 2015,

when a "tradeline removal request" was made. Luke Decl. ¶ 46. Similar removal requests were

made, with respect to all of the other named plaintiffs, by February 8, 2015, at the latest. Id. ¶¶ 35,

57, 72, 87.37

          Plaintiffs point out that there is no confirmation in the record that defendants have

"requested tradeline removals" for the entire class. Pl. R. 12(b)(1) Opp. at 13. True enough. But

this does not help them get a Rule 23(b)(2) class certified, because they must first show that that




36
     This is quite different from the injunctive relief requested in Sykes, where plaintiffs sought:

          first, a direction that defendants "cease engaging in debt collection practices that
          violate the FDCPA, RICO, N.Y. GBL § 349, and N.Y. Jud. Law § 487;" second, a
          direction that defendants locate and notify class members that a default judgment
          has been entered against them and that "they have the right to file a motion with the
          court to re-open their case;" third, a direction that defendants "serve process in
          compliance with the law in any and all future actions;" and fourth, a direction that
          defendants' affidavits of merit in future actions reflect their personal knowledge of
          the facts.
Sykes III, 780 F.3d at 97 (citation omitted).
37
   By law, the default judgments themselves dropped off the plaintiffs' credit reports seven years
after they were issued. See 15 U.S.C. § 1681c(a)(2) (generally prohibiting the credit bureaus from
reporting any "[c]ivil suits" or "civil judgments" that "antedate the report by more than seven
years").


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least one named plaintiff has standing to seek the requested injunction – which they cannot do.

And even if they cleared this hurdle, they could not clear the next, which requires them to show

that the class has been "defined in such a way that anyone within it would have standing." Denney,

443 F.3d at 264. Here, plaintiffs have shown – at best – that some members of the proposed class

might still have default judgments or negative tradelines affecting their credit scores as a result of

defendants' allegedly unlawful debt collection efforts, which puts them at risk of future harm

should that information be disseminated to potential creditors. This is not sufficient.

         Nor may plaintiffs rely for standing on the risk that defendants will initiate new debt-

collection lawsuits against them, or other members of the putative class, "without possession or

review" of the necessary proof of indebtedness. Both TSI-NCO and Forster are now enjoined from

engaging in that conduct. See Consent Order ¶¶ 45-51 (TSI); Stip. Final J. ¶¶ 6-9 (Forster). For

this reason as well, plaintiffs cannot show that they face an "imminent and substantial" risk of

harm, either from the lingering effects of defendants' past conduct or from any future repetition of

that conduct. TransUnion, 141 S. Ct. at 2210.

III.     CONCLUSION

         For the reasons set forth above, I recommend, respectfully, that defendants' Rule 12(b)(1)

motion to dismiss this action for lack of standing be GRANTED IN PART. All of plaintiffs' claims

based on CCAC ¶¶ 274(c)-(g) and 280(c)-(g), should be dismissed, along with the claims of

plaintiffs K. Seaman, M. Seaman, Tabar, Butry, and Frauenhofer based on CCAC ¶¶ 274(h)

and 280(h). The motion to dismiss should otherwise be DENIED.

         I further recommend that plaintiffs' Rule 23 class certification motion be GRANTED IN

PART. The Court should certify one class, pursuant to Rule 23(b)(3), comprised of all persons

who have been sued in New York State court debt collection lawsuits from November 1, 2012




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through February 27, 2018, where the plaintiff was one of the Trust Defendants, with TSI-NCO

acting as servicing agent and Forster as plaintiff's counsel, and where a default judgment was

obtained, but excluding any individual who appeared in state court to defend themselves and

against whom the Trust Defendant named as plaintiff was awarded a judgment on the merits.

       I further recommend that plaintiffs K. Seaman, M. Seaman, Tabar, Butry, Bifulco, and

Frauenhofer be appointed Class Representatives (although plaintiffs neglected to ask for this

relief), and that Frank LLP be appointed Class Counsel.

Dated: New York, New York
       March 13, 2023


                                             ________________________________
                                             BARBARA MOSES
                                             United States Magistrate Judge




               NOTICE OF PROCEDURE FOR FILING OF OBJECTIONS
                   TO THIS REPORT AND RECOMMENDATION

        The parties shall have fourteen days from the service of this report and recommendation to
file written objections pursuant to 28 U.S.C. § 636(b)(1) and Rule 72(b) of the Federal Rules of
Civil Procedure. See also Fed. R. Civ. P. 6(a), (d). A party may respond to another party's
objections within fourteen days after being served with a copy. Fed. R. Civ. P. 72(b)(2). Any such
objections shall be filed with the Clerk of the Court, with courtesy copies delivered to the
Hon. Paul G. Gardephe at 40 Foley Square, New York, New York 10007, and to the chambers of
the undersigned Magistrate Judge. Any request for an extension of time to file objections must be
directed to Judge Gardephe. Failure to file timely objections will result in a waiver of such
objections and will preclude appellate review. See Thomas v. Arn, 474 U.S. 140, 155 (1985);
Frydman v. Experian Info. Sols., Inc., 743 Fed. App'x 486, 487 (2d Cir. 2018) (summary order);
Wagner & Wagner, LLP v. Atkinson, Haskins, Nellis, Brittingham, Gladd & Carwile, P.C., 596
F.3d 84, 92 (2d Cir. 2010).




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